Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 1 of 148




         Exhibit 15
                   Case
                    Case3:16-cv-08277-DLR
                         3:10-cv-08056-FJM Document
                                            Document14-4       02/09/17 Page 3
                                                     1-1 Filed 04/12/10      2 of 49
                                                                                  148


                                                                                                          D £ 8~9~Y JlJi Jf c' L ~' '" t(
                                                                                                          ii y ..i2~jiJ..~:it:~~;
.94lo/    1   Michael J. Brosnahan, pro per                                                                20iO MAR 22 PM 3; 28
              Private       Mail     Box 11 - 188
          2   2370 West Highway 89A                                                                                 FilED
              Sedona, Arizona 88336
          3   Phone # (928) 300-6030
              -cmtk63 (fhotmail.com?
          4
          5                    IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
          6                          IN AND FOR THE COUNTY OF COCONINO
          7                                                                       ) Case no:l;JI () (0 -- DD ~d. 1-
              MICHAL J BROSNAHAN
          8                                                                       ~ JUDICIAL NOTICE
                                                Plaintiff,
          9               Vs.                                                     )   PETITION FOR TEMPORAY
                                                                                  )   RESTRAINING ORDER FOR;
         10   BANK OF AMRICA, FORMRLY                                             )   1. DEFENDANTS' FRAUD; AND
              COUNTRYWIDE BANK,                                                   )   2. DEFENDANTS' USE OF VOID
         11   BAC HOME LOANS SERVICING LP,                                            CONTRACT PURSUANT TO
              RECONTRUST CO~ANY, MERS                                                 AMERICAN JURISPRUDENCE
         12    AND JOHN DOES 1 - 1 0,000                                              SECOND EDITION 46 § 203 AND
                                                                                      ARIZONA REVISED STATUTES;
         13                                    Defendant.                                           AND
                                                                                      PLAINTIFF STATES THE CLAIM
         14                                                                           FOR WHICH RELIEF CAN BE
                                                                                      GRANTED PURSUANT TO:
         15                                                                           F.R.Cv.P. RULE 12(b )(6)
                                                                                      3. TRIAL BY JURY DEMANDED
         16

         17

         18
                             COMES NOW, MICHAEL J BROSNAHAN, Plaintiff, on Petition for
         19
              Temporary Restraining Order for Defendant's numerous acts of                            fraud upon this court,
         20
              including without limitations, Defendant's purposefhl fraud in attempting to appear as
         21
              CREDITOR to this honorable court, when in fact Defendants are well aware they are not
         22
              the CREDITOR and therefore NOT the Real Party in interest in this instant matter.
         23
                          It is now incumbent on this court to query Defendants as to Defendants' lawful
         24
              position in this instant matter. If                     Defendants refuse to stipulate in open court that

  0W     25
              Defendants are the CREDITOR in this instant matter, this court must remove Defendants
  Z      26
              from this hearing forthwith, as this court is here to settle a matter between a CREDITOR
  Z
  .:     27
   Ü
   en    28
              and a DEBTOR.
                  Case3:16-cv-08277-DLR
                 Case  3:10-cv-08056-FJM Document
                                          Document14-4
                                                   1-1 Filed 04/12/10
                                                             02/09/17 Page 4
                                                                           3 of 49
                                                                                148




     1 Accordingly, if                               Defendants are not the CREDITOR in this Matter, then
  2 Defendants have thus stipulated that Plaintiff                                        MUST be the CREDITOR in this matter.
  3 Defendants cannot be the CREDITOR in this instant matter as Defendants

  4 NEVER risked any assets, nor are Defendants holding any assets.
  5 A CREDITOR cannot be a CREDITOR if                                                               they don't hold the asset in question,
  6 i.e.: the NOTE and/or the property; and Mortgage Pass-through Trusts, i.e R.E.1.T,

  7 cannot hold assets for if                         they do their tax exempt status is violated and the Trust itself
                                                                                                                                           is
  8 void ab initio.
  9 Defendant MUST NOW inform this court, the I.R.S. and the S.E.C. of                                                            their status

10 of either being a CREDITOR and/or not being a CREDITOR.
11 Defendants own acts of fraud upon this court, Plaintiff, and the public in general are
12 the single cause of                     this paradox and absent Defendants stating the claim as CREDITOR,
13 this court cannot hear from Defendants.
14 By Law and precedent and in accordance with the Supreme Court of the United
15 States pro se Pleadings MAY NOT be held to the same standard as a lawyer's and/or
16 attorney's; and whose motions, pleadings and all papers may ONLY be judged by their
17 function and never their form. See: Haines v. Kerner; Plat                                                   sky v. CIA; Anastasoffv.
18 United States; Litigants are to be held to less stringent pleading standards;
19

20                       See: Haines v. Kerner, 404 U.S. 519-421; In re Haines: pro se litigants are held to
                         less stringent pleading standards than admitted or licensed bar attorneys.
21                       Regardless of the deficiencies in their pleadings, pro se litigants are entitled to the
22                       opportunity to submit evidence in support of their claims.

23                       See also: Platsky v.C.I.A., 953 f.2d. 25; In re Platsky: court errs if court dismisses
                         the pro se litigant without instruction of how pleadings are deficient and how to
24
                         repair pleadings.
25
                         See also: Anastasoff v. United States, 223 F.3d 898 (8th Cir. 2000); In re
26                       Anastasoff: litigants' constitutional (guaranteed) rights are violated when courts
27                       depart from precedent where parties are similarly situated.

28
                                                                                      2
        Case
         Case3:16-cv-08277-DLR
              3:10-cv-08056-FJM Document
                                 Document14-4       02/09/17 Page 5
                                          1-1 Filed 04/12/10      4 of 49
                                                                       148




 1   PARTIES:
 2
     Plaintiff MICHAEL J BROSNAHN is an adult individual who at all material times
 3   relevant to this complaint, owns real property located at 21 Hummingbird Circle, Sedona,
     AZ 86336.
 4
 5   Defendants BANK OF AMERICA, FORMRLY COUNTRYWIDE BANK, BAC
     HOME LOANS SERVICING LP, RECONTRUST COMPANY, MERS AND JOHN
 6   DOES 1-10,000 who are at all material times relevant to this complaint.
 7
     WARNING NOTICE: DEFENDANT PARTIES HA VE HEREBY BEEN NOTICED
 8   BY THIS COMPLAINT AND SERVICE THEREOF UPON ALL ABOVE LISTED
     DEFENDANTS, THAT ANY FURTHER PROCEEDINGS TO VIOLATE THE
 9   DUE PROCESS OF PLAINTIFF WILL BE CAUSE TO RESULT IN LOSS OF
10   ANY CLAIM OF IMMUNITY.

11   ACTUAL CONSTRUCTIVE NOTICE: TO ALL NAMED DEFENDANTS
     HEREIN, YOU ARE ADVISED TO PRODUCE THE AFOREMENTIONED
12
     DOCUMENTS - IF YOU PROCEED IN SELLING OF THIS PROPERTY YOU
13   MUST PRODUCE THE ACTUAL UNALTERED GENUINE ORIGINAL
     PROMISSORY AND TRUSTEE NOTES. IN BEING SOLD THOSE NOTES
14   WOULD REMAIN IN THE STREAM OF COMMERCE AND BOTH NOTES
15   MUST BE RETURNED OR AN ASSUPSIT SUIT WILL BE FILED TO COLLECT
     THE ACTUAL VALUE OF BOTH NOTES AND INCLUDING BUT NOT
16   LIMITED TO ANY OTHER ACTION TO POTENTIALLY INCLUDE A
     CRIMINAL COMPLAINT FOR VIOLATIONS OF 18 USC.
17

18   NOTICE TO AGENT IS NOTICE TO PRINCIPAL AND NOTICE TO
     PRINCIPAL IS NOTICE TO AGENT.
19

20 i.      Plaintiff hereby states the claim for which relief can be granted as follows:
21

22   CLAIMS: 1. Defendants are not the CREDITOR, or an ASSIGNEE of the
                 CREDITOR, in this instant matter, and accordingly, Defendants have no
23
                 standing in this instant matter.
24
                2. Defendants are not the Real Party in Interest in this instant matter,
25              and accordingly, Defendants have no standing in this instant matter.
26
                3.        Defendants did NOT put Defendants' assets at risk in this instant
27              matter.
28
                                                 3
         Case
          Case3:16-cv-08277-DLR
               3:10-cv-08056-FJM Document
                                  Document14-4       02/09/17 Page 6
                                           1-1 Filed 04/12/10      5 of 49
                                                                        148




 1               4.              Defendants may have only "lent credit" in this instant matter.
2
                 5. Defendants purposely destroyed the GENUINE ORIGINAL
 3               PROMISSORY NOTE to "securitize" the NOTE.

 4               6. Defendants' use of        "legalese" in the mortgage documents as a means
 5               of converting Real Propert from its true owner to Defendants is a criminal
                 act of "conversion through fraudulent means" and therefore the mortgage
 6               documents are evidence of a criminal act and cannot be used by this Court in
                 this instant matter. (See: Black's Sixth; "Understand'')
 7

 8
     RELIEF: Defendants return the GENUINE ORIGINAL PROMISSORY NOTE
 9               and ALL MONEY PAID (by Plaintif           to Defendants, with afull disclosure
10               of accounting of such J to Plaintiff forthwith;

11               Accordingly; Plaintiff wil relinquish ALL rights to said real property
                 in question to Defendants.
12

13               IfDefendants do not STATE THE CLAIM UNDER PENALTY OF
                 PERJURY that Defendants are the CREDITOR in this instant matter,
14                                                                     Plaintiff.
                 Defendants agree to accept Judgment by Default in favor of



15
                 If   Defendants do STATE THE CLAIM UNDER       PENALTY OF PERJURY
16               that Defendants are the CREDITOR in this instant matter, Defendants
                 agree to deliver acknowledgement of such forthwith to the S.E.C. and the
17
                 I.R.S.
18

19   /
20   II. Plaintiff has the Due Process Right as protected by, inter alia, the Fourteenth
     Amendment of the federal Constitution to rely on the court adhering to, inter alia,
21   A.R.Cv.P., inter alia, and the federal and state Constitutions:
22          A.R.Cv.P. Rule 1

23
            These rules govern the procedure in the superior courts of Arizona in all suits
            of a civil nature whether cognizable as cases at law or in equity. They shall be
24          construed to secure the just, speedy, and inexpensive determination of every
            action.
25

26 III. Plaintiff questions the jurisdiction of the non-judicial proceeding known
     only to Plaintiff as an administrative procedure fraudulently based on an invalid and
27 unenforceable confession of judgment presumption in the mortgage documents.

28
                                                                        4
         Case
          Case3:16-cv-08277-DLR
               3:10-cv-08056-FJM Document
                                  Document14-4       02/09/17 Page 7
                                           1-1 Filed 04/12/10      6 of 49
                                                                        148




 1               Once jurisdiction is questioned the court MUST dismiss the action. Plaintiff                            hereby
 2   questions the jurisdiction of the non-judicial proceeding.
 3
                A.R.Cv.P. Rule 12(h)(3). Waiver or preservation of certain defenses
 4              A party waives all defenses and objections which that party does not present either
                by motion as hereinbefore provided, or, ifthat party has made no motion, in that
 5              party's answer or reply, except;
 6                (3) Whenever it appears by suggestion of the parties or otherwise that the
                court lacks jurisdiction of the subject matter, the court shall dismiss the action.
 7              (Emphasis added)
 8
                See: McCorkle v. First Pennsylvania Ranking and Trust Co. (4th Cir. 1972) 459
 9              F.2d 243, 244. "At any stage of a litigation, including the appellate, subject matter
                jurisdiction may be questioned. By failng to do so, the parties cannot confer
10              jurisdiction by consent. Ifthe court perceives the defect, it is obligated to raise the
11
                issue sua sponte."

12              See also: McCready v. White, 417 F.3d Case 1:05-cv-04743; "Ensuring the
                existence of subject-matter jurisdiction is the court's first duty in every lawsuit."
13

14
                Subject-matter jurisdiction is an issue that must be considered at any stage of                          the
15
     litigation. See 28 U.S.C. § 1447(c) ("If                             at any time before final   judgment it appears that
16
     the district court lacks subject matter jurisdiction, the case shall be remanded."); United
17
     Phosphorus, Ltd. v. Angus Chern. Co.. 322 F.3d 942,946 (7th Cir. 2003); REM I, L.L.c.
18
     v. Anthropologie, Inc., 301 F.3d 548, 551 (7th Cir. 2002) ("(SJubject-matter jurisdiction.
19
     . . may be questioned at any time until the litigation becomes final, and sometimes even
20
     later."). Even if           the defense ofiack of subject-matter jurisdiction is overruled, stricken, or
21
     excluded by the district court, it may be reasserted at any time in the action. See: 5B
22
     Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure ,§ 1350, at 132
23
     (3d ed. 2004) (citing Fahnestock v. Reeder. 223 F. Supp. 2d 618, 621 (E.D. Pa. 2002))
24
                Once questioned, the Defendant and/or the court MUST prove jurisdiction
25
     BEFORE proceeding with a case. This requirement has not been abrogated nor does it
26
     exclude non-judicial proceedings.
27

28
                                                                                 5
               Case
                Case3:16-cv-08277-DLR
                     3:10-cv-08056-FJM Document
                                        Document14-4       02/09/17 Page 8
                                                 1-1 Filed 04/12/10      7 of 49
                                                                              148




  i The non-judicial foreclosure procedure requires jurisdiction as does any matter,

  2 judicial, administrative or otherwise. Defendant has attempted to circumvent jurisdiction

  3 requirements by falsely claiming Defendant has met for the court the requisite elements of
  4 jurisdiction, primarily that Defendant is the Real Party in Interest.

  S Defendant's claim to be the Real Party in Interest is false, fraudulent and unlawfuL.
  6 Pursuant to, inter alia, Rule 17(a), Defendant must prove Defendant is the Real Party in

  7 Interest, not just claim such.
  8 It is a functional impossibilty for Defendant to be the Real Party in Interest without

  9 the GENUINE ORIGINAL PROMISSORY NOTE. Ergo, it is a functional impossibilty
10 for Defendant to prove Defendant is the Real Part in Interest without presenting to this
11 court the GENUIN ORIGINAL PROMISSORY NOTE.
12 It is an incontrovertible fact that Defendant is not in possession of                      the GENUE
13 ORIGINAL PROMISSORY NOTE, and accordingly, it is an incontrovertible fact that
14 Defendant is committing fraud upon the court by falsely and/or fraudulently claiming
15 Defendant is in possession ofthe GENUINE ORIGINAL PROMISSORY NOTE.
16 WHEREAS; Plaintiff states the claim, and as an offer of proof, hereby accuses
17 Defendant of committing acts of perjury by; Defendant claiming to be in possession of the
18 GENUIN ORIGINAL PROMISSORY NOTE; and Defendant claiming to be the
19 GENUINE HOLDER IN DUE COURSE; and the Defendant claiming to be the
20 CREDITOR.
21 THEREFORE; Defendants MUST present for inspection to Plaintiff and this court
22 the GENUINE ORIGINAL                                   PROMISSORY NOTE or Defendants MUST agree to
23 Judgment by Default in favor of Plaintiff.
24 FURTHERMORE; Plaintiff states the claim: "the GENUIN ORIGINAL
25 PROMISSORY NOTE does not exist," accordingly there is NO GENUINE HOLDER IN
26 DUE COURSE, Defendant is NOT the GENUIN HOLDER IN DUE COURSE and
27 Defendant is NOT the CREDITOR in this instant matter; and therefore no entity has the
28 right to foreclose on the Plaintiffs real propert in question in this instant matter.
                                                                           6
             Case
              Case3:16-cv-08277-DLR
                   3:10-cv-08056-FJM Document
                                      Document14-4       02/09/17 Page 9
                                               1-1 Filed 04/12/10      8 of 49
                                                                            148




 1               ALSO FURTHERMORE; Plaintiff states the claim the GENUINE ORIGINAL
 2    PROMISSORY NOTE was "purposely destroyed" by Defendant in furtherance of
 3    Defendants' fraudulent and unlawful acts to "securitize" the NOTE.
 4               ALSO FURTHERMORE; Plaintiff                        states the claim Defendant has committed
 5    fraud and is committing fraud upon the court by claiming a COpy OF A PROMISSORY
 6   NOTE as a GENUINE ORIGINAL PROMISSORY NOTE, and claiming to be the
 7    CREDITOR regarding this issue.
 8               Pursuant to law and in accordance with Plaintiffs claims; Defendants MUST
 9   present to this court the GENUINE ORIGINAL PROMISSORY NOTE and prove to be
10   the CREDITOR in this agreement or agree to Plaintiffs demand for Judgment by Default
11   in favor of Plaintiff.
12               This pleading is supported by the law of the case herein, the prior rulings of this
13   Court herein, the docket of                this case, all documents involving Plaintiff and Defendants,
14   each of which are incorporated by this reference as if fully set forth, and for each of which
15   Plaintiff      requests this Court to take Judicial Notice thereof. This pleading is further
16   supported by the accompanying Memorandum of Points and Authorities.
17    RESPECTFULLY SUBMITTED this 22nd day of                            March, in the year of   Our Lord, 2010.
18
                                                                      ~¡;;//l;)li'l #¿,/
19

20
                                                                        . I'"
                                                                       / Mic~lel J. Brosnahan, pro per
                                                                                  ,

21

22
23

24

25

26

27

28
                                                                7
       Case
       Case3:16-cv-08277-DLR
            3:10-cv-08056-FJM Document
                              Document14-4  Filed04/12/10
                                       1-1 Filed  02/09/17 Page
                                                           Page10
                                                                9 of
                                                                  of148
                                                                     49




 1                          MEMORANDUM OF POITNS AND AUTHORITIES
 2          Defendants are committing BARR TRY by fraudulently fiing documents only a
 3   CREDTIOR and a Real Party in Interest may fie pleadings into this court in this instant
 4   matter, when in fact Defendants are NOT the CREDTIOR and NOT the Real Party in
 5   Interest in this instant matter.


 6          His a functional impossibility for Plaintiff                     to "understand" the mortgage
 7   documents Defendants used in their unlawful attempt to convert Plaintiff s Real Property
 8   to Defendants' possession. Plaintiffs inabilty to "understand" the "legalese" used by the

 9   attorneys who wrote the mortgage documents prohibits Defendants from using said
10   documents as evidence against Plaintiff.
11          In fact, Defendants' malum in se act of                       using "legalese" in a document to
12   unlawfully convert real property is defined in law as "theft through unlawful conversion."
13   Defendants cannot now use said documents to convert said property without said
14   documents being used as prima facie evidence of Defendants' felonious act.
15          This court cannot use evidence of a felonious act to assist a criminal in
16   furtherance of a felonious act.
17
           See: Black's Law Sixth Edition:
18         Understand. To know; to apprehend the meaning; to appreciate; as, to understand
           the nature and effect of an act. International-Great Northern R. Co. v. Pence, Tex.
19         Civ.App., 113 S.W.2d 206,210. To have a full and clear knowledge of; to
20         comprehend. Thus, to invalidate a deed on the ground that the grantor did not
           understand the nature of the act, the grantor must be incapable of comprehending
21         that the effect of                             the title to the land set forth in the
                                        the act would divest him of

           deed. As used in connection with the execution of wils and other instruments, the
22
           term includes the realization of the practical effects and consequences of the
23         proposed act. See Capacity.

24
           Definitions from Bouviers Law Dictionary 1856 Edition:
25         BARRTRY, crimes. In old law French barat, baraterie, signifying robbery,
26         deceit, fraud. In modern usage it may be defined as the habitual moving, exciting,
           and maintaining suits and quarrels, either at law or otherwise. i Inst. 368; 1 Hawk.
27         243.
28
                                                                      8
               Case
                Case3:16-cv-08277-DLR
                     3:10-cv-08056-FJM Document
                                        Document14-4       02/09/17 Page 11
                                                 1-1 Filed 04/12/10      10 of 49
                                                                               148




  1                2. A man cannot be indicted as a common barrator in respect of any number of false
                   and groundless actions brought in his own right, nor fora single act in right of
  2
                   another; for that would not make him a common barrator.
  3                3. Barratry, in this sense, is different from maintenance (q. v.) and champerty. (q.
                   v.)
  4

  5                CHAMPERTY, crimes. A bargain with a plaintiff or defendant, campum partire,
                   to divide the land or other matter sued for between them, if  they prevail at law, the
  6                champertor undertaking to carr on the suit at his own expense. 1 Pick. 416; 1 Ham.
                   132; 5 Monr. 416; 4 Litt. 117; 5 John. Ch. R. 44; 7 Port. R. 488.
  7
                   2. This offence differs from maintenance, in this, that in the latter the person
  8                assisting the suitor receives no benefit, while in the former he receives one half, or
                   other portion, of the thing sued for. See Punishment; Fine; Imprisonment; 4 Bl.
  9                Com.       135.
10                                                   law. Poth. Pando lib. 3,1. 1; App. n. 1, tom. 3, p.
                   3. This was an offence in the civil


                   104; 15 Yes. 139; 7 Bligh's R. 369; S. C. 20 E. C. L. R. 165; 5 Moore & P. 193; 6
11                 Carr. &P. 749; S.C. 25 E. C. L. R. 631; I-Russ. Cr. 179 Hawk.P. C. b.1 c.84, s.5.
                   4. To maintain a defendant may be champerty. Hawk. P. C. b. 1, C. 84, S. 83 Ham.
12
                   541; 6 Monr. 392; 8 Yerg. 484; 8 John. 479; 1 John. Ch. R. 444;, 7 Wend. 152; 3
13                 Cowen, 624; 6 Co~ven, 90

14 I.              Defendants are Not the Real Party in Interest in this and the non-judicial
15                 proceeding as current possession of the GENUINE ORIGINAL
                   PROMISSORY NOTE is a requirement for a party to be the Real Party in
16                 Interest in all proceedings pursuant to the U.C.C.
17                 Defendant is not and cannot be the Real Part in Interest and is committing fraud
18 by unlawfully attempting to foreclose on real property owned by Plaintiff. Absent
19 possession of              the GENUIN ORIGINAL PROMISSORY                          NOTE singed by Plaintiff,
20 Defendant cannot lawfully move forward with the non-judicial process as the non-judicial
21 court authorities do NOT have subject matter jurisdiction.
22
         II.       Absent prima facie evidence that Defendant is the Real Party in Interest in
23                 this and the non-judicial proceeding, Defendant cannot be considered the
                   Real Party in Interest in this andlor the non-judicial proceeding
24
                   The ONLY acceptable evidence that Defendant may be the Real Part in Interest is
25
         the GENUINE ORIGINAL PROMISSORY NOTE. Defendant did NOT present the
26
         GENU ORIGINAL PROMISSORY NOTE to the officers acting in the non-judicial
27

28
                                                                                  9
            Case
             Case3:16-cv-08277-DLR
                  3:10-cv-08056-FJM Document
                                     Document14-4       02/09/17 Page 12
                                              1-1 Filed 04/12/10      11 of 49
                                                                            148




 1 procedure and therefore the non-judicial procedures claims to jurisdiction are and were
 2 fraudulent claims and are thus void.

 3
         III. Absent prima facie evidence that Defendant is the CREDITOR in this and the
 4                   non-judicial proceeding, Defendant cannot be considered the CREDITOR in
                     this andlor the non-judicial proceeding
 5
                     The ONLY acceptable                 evidence that Defendant is the CREDITOR in this instant
 6
         matter is the GENUINE ORIGINAL PROMISSORY NOTE and the accounting showing
 7
         the Defendant loaning the Plaintiff                 the Defendants' assets. Defendant did NOT put assets
 8
         at risk in this matter. Defendant did NOT present the GENUINE ORIGINAL
 9
         PROMISSORY NOTE and the accounting records to the officers acting in the non-judicial
10
     procedure and therefore the non-judicial procedure "claims to jurisdiction" are and were
11
         fraudulent claims and are thus void.
12

13   IV. Since Defendant is not the Real Party in Interest in this andlor the non-
14         judicial proceeding, the foreclosure is an unlawful procedure
                    Defendant has and is committing fraud by attempting to foreclose on real property
15
     Defendant is not the lawful lien holder of. Defendant is NOT the CREDITOR and NOT
16

17
     the GENUINE HOLDER IN DUE COURSE of                                   the GENUIN ORIGINAL
     PROMISSORY NOTE and therefore CANNOT proceed non-judicially in any matter.
18

19 V.               Defendant received a COPY of the PROMISSORY NOTE AFTER the
                    PROMISSORY NOTE was determined to be in default
20
                    Defendant was fully informed the NOTE and/or mortgage was deìinquent and in
21
     dishonor before Defendant accepted a copy of                         the NOTE and/or became the HOLDER of
22
     a COPY of               the NOTE.
23
                   Even if       Defendant did receive         the GENUINE ORIGINAL PROMISSORY NOTE,
24
     which is impossible, Defendant's claims are stil invalid as Defendant has previously
25
     admitted knowledge the NOTE and/or mortgage was in default.
26

27
     1
28
                                                                     10
        Case
         Case3:16-cv-08277-DLR
              3:10-cv-08056-FJM Document
                                 Document14-4       02/09/17 Page 13
                                          1-1 Filed 04/12/10      12 of 49
                                                                        148




 1                  A.R.S. § 47-3302 2(C). Holder in due course
                    A. Subject to subsection C of                        this section and section 47-3106, subsection D,
 2
                    "holder in due course" means the holder of an instrument if:
 3                  2. The holder took the instrument:
                    (c) Without notice that the instrument is overdue or has been dishonored or
 4                  that there is an uncured default with respect to payment of another instrument
 5                  issued as part of the same series;

 6                 A.R.S. § 47-3305. Defenses and claims in recoupment
                   A. Except as stated in subsection B of this section, the right to enforce the
 7
                   obligation of a party to pay an instrument is subject to the following:
 8                 1. A defense of the obligor based on:
                   (a) Infancy of the obligor to the extent it is a defense to a simple contract;
 9
                   (b) Duress, lack of legal capacity or ilegality of the transaction which, under
                   other law, nullfies the obligation of the obligor;
10
                   ( c) Fraud that induced the obligor to sign the instrument with neither
11                 knowledge nor reasonable opportunity to learn of its character or its essential
                   terms; or
12
                   (d) Discharge of  the obligor in insolvency proceedings.
13
     VI.           Defendant has knowingly, with malice aforethought, violated numerous,
14                 inter alia, Arizona Revised Statutes to convene the non-judicial proceeding
15                 and/or attempt to unlawfully foreclose on Plaintiff's real property

16
                   Plaintiff         hereby submits the following A.R.S. as offer of                                    proof   as an abridged list of
     the crimes perpetrated by Defendant in Defendant's fraudulent attempt to unlawfully
17
     convert Plaintift s real property into Defendant's asset. Key words are in bold for the
18
     court's convenience.
19
                   Defendant's unlawful use of the non-judicial proceeding to fraudulently establish
20
     "standing" without the GENUINE ORlGINAL PROMISSORY NOTE is prima facie
21
     evidence of               Defendant's guilt, and evidence of                           Defendant's violations of              the statues.
22
                   In fact, Defendant could not have convened the non-judicial procedure without
23
     having violated one and possible all of                                 the listed statutes, and possibly other state and
24
     federal laws.
25
                   Plaintiff        presents the following list ONLY as evidence of                                      the non-judicial
26
     procedure's lack of                   jurisdiction and not as evidence of                           criminal activity on the part of
27

28
                                                                                       11
      Case
       Case3:16-cv-08277-DLR
            3:10-cv-08056-FJM Document
                               Document14-4       02/09/17 Page 14
                                        1-1 Filed 04/12/10      13 of 49
                                                                      148




 1   Defendant. Accordingly, Defendant cannot disavow said claims for Plaintiffs use of
 2   criminal violations in civil litigation.
 3          39-161. Presentment of false instrument for fiing; classification
            A person who acknowledges, certifies, notarizes, procures or offers to be fied,
 4
            registered or recorded in a public office in this state an instrument he knows to be
 5          false or forged, which, if genuine, could be fied, registered or recorded under any
            law of this state or the United States, or in compliance with established procedure is
 6          guilty of a class 6 felony. As used in this section "instrument" includes a written
            instrument as defined in section 13-2001.
 7

 8          13-2004. Criminal simulation; classification
            A. A person commits criminal simulation if, with intent to defraud, such person
 9
            makes, alters, or presents or offers, whether accepted or not, any object so that it
10          appears to have an antiquity, rarity, source, authorship or value that it does not in
            fact possess.
11          B. Criminal simulation is a class 6 felony.
12
            13-2005. Obtaining a signature by deception; classification
13          A. A person commits obtaining a signature by deception if, with intent to defraud,
            such person obtains the signature of another person to a written instrument by
14
            knowingly misrepresenting or omitting any fact material to the instrument or
15          transaction.
16          13-2006. Criminal impersonation; classification
17
            A. A person commits criminal impersonation by:
            2. Pretending to be a representative of some person or organization with the intent
18          to defraud; or
            3. Pretending to be, or assuming a false identity of, an employee or a
19
            representative of some person or organization with the intent to induce another
20          person to provide or allow access to property.

21          13-2010. Trafficking in the identity of another person or entity: classification
22
            A. A person commits trafficking in the identity of another person or entity if the
           person knowingly sells, transfers or transmits any personal identifYing
23          information or entity identifYing information of another person or entity, including
                                                                       the other person or entity
            a real or fictitious person or entity, without the consent of
24          for any unlawful purpose or to cause loss to the person or entity whether or not
25          the other person or entity actually suffers any economic loss, or allowing
            another person to obtain or continue employment.
26
            13-2204. Defrauding secured creditors; definition; classification
27
           A. A person commits defrauding secured creditors if    the person knowingly
28         destroys, removes, conceals, encumbers, converts, sells, obtains, transfers,
                                                                            12
     Case
      Case3:16-cv-08277-DLR
           3:10-cv-08056-FJM Document
                              Document14-4       02/09/17 Page 15
                                       1-1 Filed 04/12/10      14 of 49
                                                                     148




 1       controls or otherwise deals with property subject to a security interest with the
         intent to hinder or prevent the enforcement of that interest.
 2
 3        13-2205. Defrauding judgment creditors; classification
         A. A person commits defrauding judgment creditors if such person secretes,
 4       assigns, conveys or otherwise disposes of   his property with the intent to defraud a
 5       judgment creditor or to prevent that property from being subjected to payment of a
         judgment.
 6
         13-2206. Fraud in insolvency; classification
 7
         A. A person commits fraud in insolvency if, when proceedings have been or are
 8       about to be instituted for the appointment of a trustee, receiver or other person
         entitled to administer propert for the benefit of CREDITORs or when any other
 9       assignment, composition or liquidation for the benefit of CREDITORs has been or
10       is about to be made, such person:
         2. Knowingly falsifies any writing or record relating to the property; or
11       3. Knowingly misrepresents or refuses to disclose to a receiver or other person
         entitled to administer property for the benefit of CREDITORs the existence,
12
         amount or location of the property or any other information which he
                                                                                could be
13       legally required to furnish to such administration; or
         4. Obtains any substantial part of or interest in the debtor's estate with intent
14       to defraud any CREDITOR.
15
        13-2306. Possession of altered propert; classification
16      A. A person who is a dealer in property and recklessly possesses propert the
        permanent identifying features of which, including serial numbers or labels, have
17
        been removed or in any fashion altered is guilty of a class 6 felony.
18
        13-2308. Participating in or assisting a criminal syndicate; classification
19      A. A person commits paricipating in a criminal syndicate by:
20      1. Intentionally organizing, managing, directing, supervising or financing a
        criminal syndicate with the intent to promote or further the criminal objectives of
21      the syndicate; or
        3. Furnishing advice or direction in the conduct, financing or management of a
22
        criminal syndicate's affairs with the intent to promote or further the criminal
23      objectives of a criminal syndicate; or
        4. Intentionally promoting or furthering the criminal objectives of a criminal
24      syndicate by inducing or committing any act or omission by a public servant in
25
        violation ofhis official duty; or

26      13-2310. Fraudulent schemes and artifices; classification; definition
        A. Any person who, pursuant to a scheme or artifice to defraud, knowingly obtains
27      any benefit by means of false or fraudulent pretenses, representations, promises or
28      material omissions is guilty of a class 2 felony.
                                                                        13
     Case
      Case3:16-cv-08277-DLR
           3:10-cv-08056-FJM Document
                              Document14-4       02/09/17 Page 16
                                       1-1 Filed 04/12/10      15 of 49
                                                                     148




 1       B. Reliance on the part of any person shall not be a necessary element of
                                                                                               the
          offense described in subsection A of this section.
 2
 3       13-2311. Fraudulent schemes and practices; wilful concealment; classification
         A. Notwithstanding any provision of   the law to the contrary, in any matter related
 4       to the business conducted by any department or agency of this state or any political
 5       subdivision thereof, any person who, pursuant to a scheme or artifice to defraud or
         deceive, knowingly falsifies, conceals or covers up a material fact by any trick,
 6       scheme or device or makes or uses any false writing or document knowing such
         writing or document contains any false, fictitious or fraudulent statement or entry is
 7
         guilty of a class 5 felony.

 8       B. For the purposes of this section, "agency" includes a public agency as defined
         by section 38-S02, paragraph 6.
 9
10       13-2317. Money laundering; classification; definitions
         A. A person is guilty of money laundering in the first degree if the person does any
11       of the following:
          1. Knowingly initiates, organizes, plans, finances, directs, manages, supervises or
12
         is in the business of money laundering in violation of subsection B of this section.
13       B. A person is guilty of                                            the person does
                                                   money laundering in the second degree if

         any of the following:
14
                                                                                           or
         1. Acquires or maintains an interest in, transacts, transfers, transports, receives



15
         conceals the existence or nature of racketeering proceeds knowing or having reason
         to know that they are the proceeds of an offense.
16       2. Makes property available to another by transaction, transportation or otherwise
         knowing that it is intended to be used to faciltate racketeering.
17
         3. Conducts a transaction knowing or having reason to know that the property
18       involved is the proceeds of an offense and with the intent to conceal or disguise the
         nature, location, source, ownership or control of the property or the intent to
19       facilitate racketeering.
20       4. Intentionally or knowingly makes a false statement, misrepresentation or false
         certification or makes a false entry or omits a material entry in any application,
21       financial statement, account record, customer receipt, report or other document that
         is filed or required to be maintained or fied under title 6, chapter 12.
22       S. Intentionally or knowingly evades or attempts to evade any reporting
23       requirement under section 6-1241, whether by structuring transactions as described
         in 31 Code of   Federal Regulations part 103, by causing any financial institution,
24       money transmitter, trade or business to fail to fie the report, by failing to file a
         required report or record or by any other means.
25
         6. Intentionally or knowingly provides any false information or fails to disclose
26       information that causes any licensee, authorized delegate, money transmitter, trade
         or business to either:
27
         (a) Fail to fie any report or record that is required under section 6-1241.
28
                                                                        14
     Case
      Case3:16-cv-08277-DLR
           3:10-cv-08056-FJM Document
                              Document14-4       02/09/17 Page 17
                                       1-1 Filed 04/12/10      16 of 49
                                                                     148




 1
         (b) File such a report or record that contains a material omission or misstatement of
         fact.
 2
         7. Intentionally or knowingly falsifies, conceals, covers up or misrepresents or
 3       attempts to falsify, conceal, cover up or misrepresent the identity of any person in
         connection with any transaction with a financial institution or money transmitter.
 4       8. In connection with a transaction with a financial institution or money
 5       transmitter, intentionally or knowingly makes, uses, offers or presents or attempts
         to make, use, offer or present, whether accepted or not, a forged instrument, a
 6       falsely altered or completed written instrument or a written instrument that contains
         any materially false personal identifying information.
 7
         9. If the person is a money transmitter, a person engaged in a trade or business or
 8       any employee of a money transmitter or a person engaged in a trade or business,
         intentionally or knowingly accepts false personal identifying information from any
 9       person or otherwise knowingly incorporates false personal identifying information
         into any report or record that is required by section 6- 124 1.
10
         10. Intentionally conducts, controls, manages, supervises, directs or owns all or
11       part of a money transmitting business for which a license is required by title 6,
         chapter 12 unless the business is licensed pursuant to title 6, chapter 12 and
12
         complies with the money transmitting business registration requirements under 31
13       United States Code section 5330.
         C. A person is guilty of money laundering in the third degree if the person
14       intentionally or knowingly does any of    the following:
15
         1. In the course of any transaction transmitting money, confers or agrees to confer
         anything of value on a money transmitter or any employee of a money transmitter
16      that is intended to influence or reward any person for failing to comply with any
        requirement under title 6, chapter 12.
17
         2. Engages in the  business of receiving money for transmission or transmitting
18       money, as an employee or otherwise, and receives anything of
                                                                            value upon an
        agreement or understanding that it is intended to influence or benefit the person for
19      failng to comply with any requirement under title 6, chapter 12.
20      D. In addition to any other criminal or civil remedy, if a person violates subsection
         A or B of                                      violations that involve a total of one
                          this section as part of a pattern of

21      hundred thousand dollars or more in any twelve month period, the person is subject
        to forfeiture of substitute assets in an amount that is three times the amount that was
22      involved in the pattern, including conduct that occurred before and after the twelve
23      month period.
        E. Money laundering in the third degree is a class 6 felony. Money laundering in
24      the second degree is a class 3 felony. Money laundering in the first degree is a
25
        class 2 felony.

26      13-2320. Residential mortgage fraud; classification; definitions
        A. A person commits residential mortgage fraud if, with the intent to defraud, the
27      person does any ofthe following:
28
                                                                        15 '
        Case
         Case3:16-cv-08277-DLR
              3:10-cv-08056-FJM Document
                                 Document14-4       02/09/17 Page 18
                                          1-1 Filed 04/12/10      17 of 49
                                                                        148




 1                1. Knowingly makes any deliberate misstatement, misrepresentation or material
                  omission during the mortgage lending process that is relied on by a mortgage
 2
                  lender, borrower or other party to the mortgage lending process.
 3                2. Knowingly uses or facilitates the use of any deliberate misstatement,
                  misrepresentation or material omission during the mortgage lending process that
 4                is relied on by a mortgage lender, borrower or other party to the mortgage lending
 5                process.
                  3. Receives any proceeds or other monies in connection with a residential
 6                mortgage loan that the person knows resulted from a violation of paragraph 1 or 2
                  of this subsection.
 7
                 4. Files or causes to be filed with the office of the county recorder of any
 8               county of this state any residential mortgage loan document that the person
                 knows to contain a deliberate misstatement, misrepresentation or material
 9               omission.
10               B. An offense involving residential mortgage fraud shall not be based solely on
                  information that is lawfully disclosed under federal disclosure laws, regulations and
11                interpretations related to the mortgage lending process.
12
     VII. Defendant CANNOT use the confession of judgment as written in the
13         mortgage for any proceeding, judicial, non-judicial, andlor otherwise
14
                 Arizona law requires the power of attorney for the confession of judgment to be
15
     signed AFTER the indebtedness became due and payable. Therefore, any clause in the
16
     mortgage pertaining to such is void and does not give Right and/or cause for Defendant to
17
     claim confession of judgment authority and/or right.
18

19
                 A.R.S. § 44-143
                 Judgment by confession shall not be entered upon a note, bond or other instrument
20               in writing for the payment of money under the authority of a power of attorney to
                 confess judgment thereon, unless such authority is executed and acknowledged on a
21
                 day subsequent to the date on which the indebtedness to be confessed became due
22               and payable.

23

24   VIII. Defendant cannot claim res judicata for standing from any decision in the
                                                      the non-judicial proceeding is and
                 non-judicial proceeding as jurisdiction of

25         was in question, and therefore Defendant's standing remains in question.
26
                 Whereas the non-judicial proceeding may only claim jurisdiction in accordance
27
     with a valid confession of                   judgment and/or attorney'swarrant, the fact neither the
28
                                                                   16
        Case
         Case3:16-cv-08277-DLR
              3:10-cv-08056-FJM Document
                                 Document14-4
                                          1-1 Filed 04/12/10
                                                    02/09/17 Page 19
                                                                  18 of 49
                                                                        148




 1 confession of judgment nor the attorney's warrant were valid causes the non-judicial
 2 proceeding to not have jurisdiction. Decision made in any proceeding that lack
 3 jurisdiction are void.
 4 Fraudulent statements in an affidavit invalidate said affidavit.

 5 Failure of a confession of judgment to meet all five (S) elements required

 6 invalidates said confession of judgment.

 7

 8 ix.           Defendant's use of a Notary Public who has a "beneficial interest" in the
                 process for the non-judicial proceeding is invalid
 9
                 The Notary Public used by Defendant and/or Defendant's attorneys has a financial
10
     and/or business interest with the Defendant and/or Defendant's attorneys and therefore
11
     said Notary Public's actions are in violation of        the, inter alia, Notary's Code of   Ethics and
12
     the, inter alia, Arizona Revised Statutes § 41-328, and accordingly the Notary's
13
     verification is fraudulent and thus void.
14

15              ARZONA NOTARY PUBLIC REFERENCE MANUAL, page 2
                Second paragraph:
16              This means, a notary public cannot be a "part to the transaction" or a "part
                to the instrument" and the notary public cannot have any financial or beneficial
17
                interest in the transaction, no matter how small (A.R.S. § 41-328(B)). A notary
18              public has a financial interest in a transaction if he or she wil gain (or lose)
                something of   value in the transaction. A notary public has beneficial interest in
19              a transaction if the document wil benefit the notary in some way.
20
                Last paragraph:
21               "If a jurat is performed, the document signer is also required to vouch for the
                truthfulness of the document."
22

23              A.R.S. § 41-328. Prohibited conduct; incomplete documents: signatures of
                relatives
24              B. A notary public is an impartial witness and shall not notarize the notary's
25
                own signature or the signatures of any person who is related by marriage or
                adoption.
26

27

28
                                                        17
          Case
           Case3:16-cv-08277-DLR
                3:10-cv-08056-FJM Document
                                   Document14-4       02/09/17 Page 20
                                            1-1 Filed 04/12/10      19 of 49
                                                                          148




 1 X.              Plaintiff disputes ALL signatures by ALL other parties and demands
                   verification by prima facie evidence, affidavit, and non-hearsay testimony to
 2
                   validate ALL signatures
 3
                   There are numerous instances of                   Defendants Notary Public notarizing documents
 4-
       with; incorrect dates; fraudulent signatures; attestations done absent parties being present;
 5
       perjurous statements of claims of being sworn; dates that do nòt correlate to events; etc.
 6                ALL documents notarized MUST be correct or the whole process itself is void and
 7    Defendant is required by law to prove the process is valid once questioned.
 8

 9    XI. Plaintiff disputes ALL claims of service of process by Defendants in ALL

10                matters concerning the non-judicial foreclosure process

11
                  To contest a cognovit clause on federal due-process grounds, ajudgment debtor

12
      must plead specific facts sufficient to support a claim that he or she did not voluntarily,
      intellgently, and knowingly waive the right to prejudgment notice and hearing. See:
13
      F.D.LC. v. Aaronian, 93 F.3d 636 (9th Cir.1996).
14

15
                  In some states, the practice of ex parte entry of judgment by confession is in

16
      disrepute, and notice must be given to the debtor before entry of judgment. See: First

17
      Mut. Corp. v. Grammercv & Maine, Inc.! 176 N.J. Super. 428, 423 A.2d 680 (Law
      Div.1980).
18

19
                  A state statute may provide that a judgment by confession may not be entered as a
      final judgment, effective in all respects as a judgment after trial, until the prothonotary
20
      gives written notice to the obligor by certified mail, return receipt requested, of an
21

22
      opportunity for judicial determination as to whether the obligor understandingly waived
      the right to notice and an opportunity to be heard prior to the entry of final judgment.
23
      See: Cheidem Corp. v. Farmer, 449 A.2d 1061 (Del. Super. Ct.
24                                                                                         1982).




25               Any errors in the service of process is considered by law a "fatal error" and the

26    whole process is then considered void. Absent fully correct process of service Defendant

27    has no authority to proceed with a foreclosure on any part and/or property.

28
                                                                       18
             Case
              Case3:16-cv-08277-DLR
                   3:10-cv-08056-FJM Document
                                      Document14-4
                                               1-1 Filed 04/12/10
                                                         02/09/17 Page 21
                                                                       20 of 49
                                                                             148




 1


 2 Defendant is then required by law to cease and desist with said foreclosure process

 3 and may only begin again once if and only if Plaintiff s claims are proved invalid.
 4

 5
         XII. Plaintiff disputes ALL claims by Defendant that there is ANY amount due
               on the mortgage in question as said mortgage has been paid in full, directly
 6             and/or indirectly, by one or more of the following: Credit Slips, "bailout
               funds", mortgage insurance, government agencies, signature of party, etc.
 7

 8 Defendant did receive "bail out" and/or "TAR" funds from the government and/or

 9 private quasi-government institutions that did in fact "pay-off' some or all of
                                                                                          Defendants
10 "mortgages" and/or other financial deals.
11 It is incumbent on Defendant to prove the mortgage in question WAS NOT paid-off

12 and/or Defendant was enumerated directly and/or indirectly for the mortgage in question.
13 In fact, absent prima facie evidence controverting Plaintiffs claim that Defendant
14 was reimbursed in some way by some entity for the mortgage in question, Defendant is
15 agreeing that said mortgage is paid in full.
16 Defendant MUST therefore present for inspection to the Plaintiff a complete list
17 with accounting of ALL funds received correlated to ALL mortgages paid and not paid
18 before continuing with any foreclosure attempt on the propert and/or mortgage in
19 question.
20 Defendant's failure to produce for inspection said accounting documents is
21 Defendant's agreement that the mortgage in question is paid in full. There is no law
22 dictating who is required to pay for a mortgage for it to be considered paid in full.
23 In fact, Plaintiff believes the mortgage was and is paid in full and Defendant is
24 attempting to fraudulently convert real propert through a conspiracy involving numerous
25 parties unkown to Plaintiff.
26

27      XIII. Plaintiff disputes and hereby rebuts any and all statements in any and all
               Affidavits submitted by Defendant and/or Defendant's agents
28
                                                                                     19
          Case
           Case3:16-cv-08277-DLR
                3:10-cv-08056-FJM Document
                                   Document14-4
                                            1-1 Filed 04/12/10
                                                      02/09/17 Page 22
                                                                    21 of 49
                                                                          148




 1

                       22-219. Confession of                   judgment without issuance or service of                  process
 2
                       A. A party may appear in person or by an agent or attorney before a justice
 3                     of the peace without issuance or service of process and confess judgment
                       for an amount within the jurisdiction of                               the justice of   the peace, and such
 4                     judgment shall be entered thereon upon the filing by Plaintiff, his agent or
                       attorney of an affidavit of                   the justness ofPlaintifts claim.
 5
                       B. Where the judgment is confessed by an agent or attorney, the warrant of
 6                     agent or attorney authorizing the confession shall be filed with the justice
                       and noted in the docket.
 7

 8

 9    xiv. Legal definitions laymen may not be presumed to know andlor understand

10                  Definitions a "laymen" would not likely understand and would require a BAR

11    licensed attorney to define and explain before a "laymen" may be considered "knowingly,

12   understanding, and wilfully" agreeing to numerous legal definitions that ONLY

13    competent counsel would be familiar with. Absent Defendant proving Plaintiff had

14   knowledge of            the following terms, Defendant cannot lawfully claim Plaintiff                                       knowingly,

15   intellgently, and wilfully agreed to any mortgage containing said terms and/or concepts.


16   Black's Law Dictionary 6th Edition:
17
     Cognovit judgment. See Cognovit judgment; also, Coriession Of                                              judgment, below.
18
     Confession of  judgment. At common law, judgment entered where Defendant, instead of
19
     entering plea, confessed action, or withdrew plea and confessed action.
20   Judgment where a Defendant gives the Plaintiff a cognovit or written confession of    the
     action by virtue of which the Plaintiff enters judgment. The act of a debtor in permitting
21   judgment to be entered against him by his creditor, for a stipulated sum, by a written
22   statement to that effect or by warrant of attorney, without the institution of legal
     proceedings of any kind; voluntary submission to court's jurisdiction. O'Hara v. Manley.
23   140 Pa.Super. 39, 12 Á.2d 820, 822. Such agreements for confession of judgment are
     void in many states; e.g. Mass.G.L. c. 231, § 13A.
24   The negotiabilty of an instrument is not affected by a term authorizing a confession of
25   judgment ifthe instrument is not paid when due. D.C.C. § 3-112. See also Cognovit
     judgment.
26
27   Cognovit judgment. Confession of judgment by debtor. Written authority of debtor and
     his direction for entry of judgment against him in the event he shall default in payment.
28   Such provision in a debt instrument or agreement permits the creditor or his attorney on
                                                                                20
         Case
          Case3:16-cv-08277-DLR
               3:10-cv-08056-FJM Document
                                  Document14-4       02/09/17 Page 23
                                           1-1 Filed 04/12/10      22 of 49
                                                                         148




 1    default to appear in court and confers judgment against the debtor. Such agreements are
      prohibited, or greatly restricted, in many states; though, where permitted, the
 2
      constitutionality of such has been upheld. D. H. Overmyer Co., Inc. v. Frick Co., 405
 3    U.S. 174, 92 S.Ct. 775, 31 L.Ed.2d 124. See Cognovit note; Judgment (Confession of
     judgment).
 4

 5    Cognovit note. An extraordinary note which authorizes an attorney to confess judgment
                                             is written authority of a debtor and a direction by
      against person or persons signing it. It

 6    him for entry of a judgment against him if obligation set forth in note is not paid when
      due. Such judgment may be taken by any person holding the note, which cuts off every
 7
      defense which maker of note may otherwise have and it likewise cuts off all rights of
 8    appeal from any judgment taken on it. Jones v. John Hancock Mut. Life Ins. Co.,
      D.C.Mich., 289 F.Supp. 930, 935. See Cognovit   judgment; Judgment (Confession of
 9   judgment).
10
     Warrant of attorney. An instrument in writing, addressed to one or more attorneys therein
11   named, authorizing them, generally, to appear in any court, or in some specified court, on
     behalf of the person giving it, and to confess judgment in favor of some particular person
12
     therein named, in an action of debt. It usually contains a stipulation not to bring any
13   action, or any writ of error, or file a bil in equity, so as to delay him; such writing usually
     being given as security for obligation on which judgment was authorized, and in such
14   procedure service of                process is not essentiaL. See Judgment (Confession of Judgment).
15
     Seisin. Possession of                  real propert under claim of        freehold estate. The completion of   the
16   feudal investiture, by which the tenant was admitted into the feud, and performed the
     rights of homage and fealty. Possession with an intent on the part of him who holds it to
17
     claim a freehold interest. Right to immediate possession according to the nature of the
18   estate. Wiliams v. Swango, 365 IlL 549, 7 N.E.2d 306, 309.

19   Actual seisin. Possession of   the freehold by the pedis positio of one's self or one's tenant
20   or agent, or by construction oflaw, as in the case of a state grant or a conveyance under
     the statutes of uses, or (probably) of grant or devise where there is no actual adverse
21   possession; it means actual possession as distinguished from constructive possession or
     possession in law.
22

23   Constructive seisin. Seisin in law where there is no seisin in fact; as where the state issues
     a patent to a person who never takes any sort of possession of the lands granted, he has
24   constructive seisin of all the land in his grant, though another person is at the time in actual
25
     possession.

26   Equitable seisin. A seisin which is analogous to legal seisin; that is, seisin of an equitable
     estate in land. Thus a mortgagor is said to have equitable seisin of the land by receipt of
27   the rents.
28
                                                                          21
              Case
               Case3:16-cv-08277-DLR
                    3:10-cv-08056-FJM Document
                                       Document14-4       02/09/17 Page 24
                                                1-1 Filed 04/12/10      23 of 49
                                                                              148




  1       Seisin in deed. Actual possession of the freehold; the same as actual seisin or seisin in
          fact. Roetzel v. Beal, 196 Ark. 5, 116 S.W.2d 591, 593.
  2
          Seisin in law. A right of immediate possession according to the nature of the estate. As
  3       the old doctrine of corporeal investiture is no longer in force, the delivery of a deed gives
          seisin in law.
  4

  5
          Seized. A person is "seized" within Fourth Amendment when police officer restrains
          person's freedom to walk away. State v. Ochoa, 112 Ariz. 582,544 P.2d 1097, 1099. It
  6       exists when reasonable person would feel that he was not free to leave. U.S. v. Albert,
          C.A.N.C., 816 F.2d 958, 960. See Seizure. The status of legally owning and possessing
  7
          real estate. See Seisin.
  8
          Seizure. The act of            taking possession of propert, e.g., for a violation of law or by virtue
  9       of an execution of a judgment. Term implies a taking or removal of something from the
10        possession, actual or constructive, of another person or persons. Molinav. State, 53
          Wis.2d 662, 193 N.W.2d 874, 877.
11
          A "seizure" of            property (under Fourth Amendment) occurs when there is some meaningful
12
          interference with an individual's possessory interest in that propert. U.S. v. Jacobsen,
13         U.S.Minn., 466 U.S. 109, 104 S. Ct. 1652, 1656, 80 L.Ed.2d 85.

14        Parol. A word; speech; hence, oral or verbaL. Expressed or evidenced by speech only; as
15
          opposed to be writing or by sealed instrument.

16        Parol contract. An oral contract as distinguished from a written or formal contract.
17

18        xv. Discussion of confession of judgment clause as it pertains to the mortgage in
                      question and the use of such in the non-judicial foreclosure of Plaintiff's Real
19                    Property
20 Defendant is attempting to non-judicially foreclose on real property in accordance
21 with the presumption the "confession of judgment" concept (hereafter cognovit clause) in
22 the mortgage/deed oftrust (hereafter mortgage) is and was valid. It is a functional
23 impossibilty for a cognovit clause to be valid in the State of Arizona pursuant to stare
24 decisis applicable to mortgage document signing unless an attorney represented Plaintiff
25 throughout the negotiations of the mortgage.
26 Defendant is fully aware Plaintiff                         was NOT represented by a BAR licensed attorney
27 at any point during the mortgage and/or purchase process that lead to the mortgage being
28
                                                                 22
       Case
        Case3:16-cv-08277-DLR
             3:10-cv-08056-FJM Document
                                Document14-4       02/09/17 Page 25
                                         1-1 Filed 04/12/10      24 of 49
                                                                       148




 1   agreed upon by either part. As such, the mortgage is void ab inito, not just voidable, but
 2   v()id and in fact did never lawfully exist pursuant to Arizona law.
 3          It is now incumbent on Defendant and/or Defendant's attorney to claim as their
 4   defense in this matter before proceeding with any other defense, that Plaintiff was not
 5   required nor entitled to competent counsel during the mortgage negotiations and signing,
 6   in contradiction to the stare decisis pertaining to cognovit clauses in any and all contracts
 7   and/or mortgages.
 8         Accordingly, Defendant must therefore establish an argument against law and set
 9   new precedent in violation of, inter alia, A.R.Cv.P. Rule 11(a):
10
                       ". . . . . ..it is well grounded in fact and is waranted by existing law or a good
11                     faith argument for the extension, modification, or reversal of existing law;
                       and that it is not interposed for any improper purpose, such as to harass or to
12                     cause unnecessary delay or needless increase in the cost of litigation."
13                     (Emphasis added)

14         American Jurisprudence, Second Edition, Judgments
           iv. Particular Kinds of Judgments, D. Judgment by Confession, 6. Practice and
15
           Procedure Topic Summary Correlation Table References
16         § 230. Notice and hearing, West's Key Number Digest, Federal Civil Procedure
           2396, West's Key Number Digest, Judgment 29 to 70
17         See:D. H. Overmyer Co. Inc., of  Ohio v. Frick Co., 405 U.S. 174, 92 S. Ct. 775,
               31 L. Ed. 2d 124
18
           "A maker of a confession of judgment voluntarily, intellgently, and knowingly
19         waives due-process rights it otherwise possesses to prejudgment notice and hearing,
           and does so with full awareness of the legal consequences, when:
20

21
           (1) the cognovit does not involve unequal bargaining power or overreaching;
22
           (2) the agreement is not a contract of adhesion;
23
           (3) the cognovit provision is obtained for adequate consideration;
24
           ( 4) the cognovit is a product of negotiations carried on by parties with the advice of
25         competent counsel; and
26
           (5) the maker, despite cognovit, is not defenseless under state law."
27

28
                                                      23
          Case
           Case3:16-cv-08277-DLR
                3:10-cv-08056-FJM Document
                                   Document14-4       02/09/17 Page 26
                                            1-1 Filed 04/12/10      25 of 49
                                                                          148




 i               Plaintiff         hereby claims all five (5) elements required for a cognovit clause to be
 2   valid in Arizona have been purposely violated by Defendant to deprive Plaintiff of
 3   Plaintiffs Civil Rights under color of state law.
 4
                                                   the five (5) elements of cognovit,
                                   Verified explanation of


 5                           as they pertain to this instant matter, and as such,
                  prima facie evidence the five (5) elements of cognovit have not been met
 6
     (1) Defendant had an unequal bargaining power and Defendant was overreaching by:
 7
                 i) Plaintiff is a laymen and as such did not have the requisite knowledge to
 8
     discover Defendant's numerous acts of concealment and/or fraud concerning the "legal
 9
     definitions" of           words and/or language used in the mortgage document;
10
                 ii) Defendant is familiar with the "legal definitions" of                            the words and/or language
11
     of   the mortgage and purposely, with malicious intent, confused Plaintiff and mis-
12
     represented the meanings of                         numerous words and/or the functionality of            the language in
13
     the mortgage document(s);
14
                 ii) Defendant was overreaching the potential of Plaintiff of understanding the
15
     mortgage and the words and/or language used in the mortgage as said was mortgage was
16
     obviously designed and written in such a way to purposely confuse laymen;
17
     (2) The mortgage is without controversy an adhesion contract as Defendant openly refuses
18
     to allow ANY change to the mortgage documents.
19          See: Cubic Corp. v. Marty. 4 Dist. 185.. C.A.3d. 438.229 Cal. Rptr 828.833;
                Standard Oil Co. ofCalit v. Perkins. C.A.Or.. 347. F.2d 379.383 "Distinctive
20
                feature of adhesion contract is that weaker part has no realistic choice as to its
21              terms."
22   (3) There can be no adequate consideration when nothing is given for something.
23   Defendant required Plaintiff to unkowingly give up Plaintiff s Right to Due Process yet
24   Defendant gave absolutely nothing in return for Plaintiffs Right.
           Black's Sixth Edition, page 39: Such as is equal, or reasonably proportioned, to the
25
           value for that which it is given.
26                                                                   "Equal to some given
                See: Nissen v. Miller. 44 N.M. 487. 105 P.2d. 324, 326

           occasion or work."
27

28
                                                                                  24
        Case
         Case3:16-cv-08277-DLR
              3:10-cv-08056-FJM Document
                                 Document14-4
                                          1-1 Filed 04/12/10
                                                    02/09/17 Page 27
                                                                  26 of 49
                                                                        148




 i    See also: Town of     Winchester v. Cox, 129 Conn. 106, 26A2.d 592, 597
                                                                                 "Such only as
      puts injured party in as good condition as he would have been if injury if injury had not
 2
      been inflcted."
 3

 4 (4)           "Competent counsel" as used when referring to contract negotiations in Arizona

 5 CAN ONLY mean a BAR licensed attorney. A.R.Civ.P., inter alia, Rule 6 deals with
 6 "duties of counsel" and accordingly ONLY references and applies to BAR licensed

 7 attorneys. Defendant has no bases and no grounds to claim "competent counsel" can mean

 8 anything other than a BAR licensed attòrney. If, in fact and on the record, Defendant's
 9 attorney even attempts to claim in this matter that "competent counsel" can mean

10 something other than a BAR licensed attorney then this court shall immediately reported
1 i Defendant to the ARIZONA BAR for his fraudulent effort and violation of his contract
12 with the ARIZONA BAR.

13 The courts in Arizona have made numerous decisions relating to "competent
14 counsel" when referring to contracts and all of such state unequivocally that said counsel
15 MUST be, and may ONLY be, a licensed attorney.
16 The following issue is absolutely incontrovertible under Arizona Law:
17 ANY MORTGAGE THAT is NOT A PRODUCT OF NEGOTIATIONS
18 CONDUCTED BY A COMPETENT BAR LICENSED ATTORNEYS is
19 VOIDAB INITIO AND CANNOT BE ENFORCED IN ANY JUDICIAL
20 AND/OR NON-JUDICIAL PROCEEDING IN ARIZONA.
21 In fact, if Defendant is not wiling to claim for the record that Plaintiff was not
22 required to have advice of counsel for the mortgage in question to be valid, then
23 Defendant has agreed that the mortgage in question is void.
24 Also, in fact, if Defendant does agree that Plaintiff was required to have advice
25 of counsel for the mortgage to be valid, yet Defendant is well aware that Plaintiff did
26 not have advice of counsel, then Defendant is thereby confessing to the crime of
27 barratry if Defendant does not agree to a summary judgment in favor of Plaintiff.
28
                                                                     25
             Case
              Case3:16-cv-08277-DLR
                   3:10-cv-08056-FJM Document
                                      Document14-4       02/09/17 Page 28
                                               1-1 Filed 04/12/10      27 of 49
                                                                             148




  1 (5) Defendant's attempt at non-judicial foreclosure, and therefore his defense, is based

  2 solely upon the claim that Plaintiff is defenseless under state law due to the "confession of
  3 judgment" clause in the mortgage.
  4 It is well established that court is adversarial in nature, yet contracts are agreements

  5 between parties to prevent disputes. Accordingly, rules for specific contractual agreements

  6 such as mortgages have been decided by precedent to prevent parties from using the court

  7 to take advantage of                      weaker parties. The legality of a non-judicial foreclosure is not the
  8 issue before this court. More correctly stated the requirement of confession of judgment"

  9 is the primary controversy this court must determine. The det~rmination of the validity of

10 "confession of judgment" must rely on the stare decisis as previously stated.
1 1 Plaintiff hereby states and claims as an offer of proof in this matter, it is not
12 lawfully possible for this court to determine the mortgage in question is valid unless this
13 court determines that:
14 1. Defendant and Plaintiff had equal bargaining power and Defendant request in the

15 mortgage were not overreaching;

16 2. Plaintiff could have altered the terms and conditions of                               the mortgage and the Defendant
17 would have stil consummated the deal;

18 3. Plaintiff was adequately compensated for his loss and that Plaintiff understood he was
19 voluntarily, knowingly, and intellgently agreeing to said loss;
20 4. Plaintiff               was advised by a BAR licensed through out the mortgage process;
21 5. Plaintiff has a defense against the cognovit clause based in law irrespective of
22 Defendant's claims.
23 Absent a conclusion based in fact and Arizona law that all five (5) elements of a
24 cognovit clause have been met, then this court may only determine that the mortgage in
25 question is VOID ab initio and that Plaintiff                      is the true lawful owner of        the real propert in
26 question.
27

28
                                                                     26
          Case
           Case3:16-cv-08277-DLR
                3:10-cv-08056-FJM Document
                                   Document14-4       02/09/17 Page 29
                                            1-1 Filed 04/12/10      28 of 49
                                                                          148




 i XVi.                      VERIFIED STATEMENTS OF FACTS AND
                             ALLEGATIONS BASED ON VERIFIED FACTS
 2
     Plaintiff, avers that, prior to, during and up to recent event, Plaintiff had no knowledge
 3
     whatsoever as to particular terms contained within the Deed of Trust, which, Plaintiff
 4
     learned much later, contained, inter alia, a small and somewhat hidden and/or disguised
 5
     provision, known as a Power of Sale Clause that, Plaintiff now finds Defendant wanton to,
 6
     individually and severally invoke, in order to literally confiscate Plaintiff s property
 7
     without due process.
 8
                 Whereas, normally, at minimum, each page of an important (life-altering)
 9
     document, such as a Deed of Trust, would require initialing of the part executing it, (as to
10
     signify the obligor's acknowledgement thereof). Defendants furthered their concealment
11
     by not only directing Plaintiff away from certain terms/clauses and alike, but are wholly
12
     without evidence via initialing of            these terms/clauses, that would have otherwise alerted
13
     Plaintiff      to the extent of      what rights were truly being abrogated.
14
                 Plaintiff believes and therefore avers, that Defendants wilfully and intentionally
15
     concealed the aforesaid Clauses, and any irrevocabilty thereafter imparted to the sole
16
     detriment of Plaintiff, including, but not limited to, the preclusion to commence any action
17
     in defense of Plaintiff s rights, for the expressed purpose of depriving an otherwise
18
     unknowing Plaintiff of fundamental rights to Due Process, by nothing less than despicable
19
     and clearly unconscionable means.
20
                 Federal questions of constitutionality arise from the conduct and nature of
21
     Defendants' actions, both individually and collectively, insofar as to the inherent rights
22
     that may be otherwise enjoyed by Plaintiff, as insured under the Fifth and Fourteenth
23
     Amendments to the United States Constitution; and, as to certain statutorily clothed
24
     tetherings upon ones rights; particularly, a Power of Sale clause, and the irrevocable
25
     means by which it attaches, in defiance of the Supremacy Clause of the United States
26
     Constitution.
27

28
                                                             27
              Case
               Case3:16-cv-08277-DLR
                    3:10-cv-08056-FJM Document
                                       Document14-4
                                                1-1 Filed 04/12/10
                                                          02/09/17 Page 30
                                                                        29 of 49
                                                                              148




  i

  2 The Fourteenth Amendment to the United States Constitution reads, in pertinent part "All
  3 persons born or naturalized in the United States, and subject to the jurisdiction thereof, are

  4 citizens of
                             the United States and of                  the State wherein they reside. No State shall make or

  5 enforce any law which shall abridge the privileges or immunities of citizens
  6 of
               the United States; nor shall any State deprive any person oflife, libert, or property,


  7 without due process of law; nor deny to any person within its jurisdiction the equal
  8 protection of
                                 the laws."

  9 Plaintiff states that Amendment V of the Constitution of the United States provides the

10 same answer being raised by the Plaintiff
                                                                                  that: "No person shall be deprived of                    life,

11 liberty, or property without due process of law." A similar provision exists in all the
12 state constitution; the phrases "Due Course of
                                                                                               Law", and            the "Law of      the Land" are
13 sometimes used; but all three of these phrases have the same meaning and that
14 applies conformity with the ancient and customary laws of
                                                                                                                      the English people or laws

15 indicated by parliament. Davidson v. New Orleans 96 U.S. 97.24. LEd 616.

16 The Supremacy Clause of
                                                                   the United States Constitution, Article VI, paragraph 2,

17 mandates that State judges, regardless
                                                                            of state constitutional considerations, and laws

18 enacted to the contrary, by effectuating the united States Constitution and its amendments

19 as being the "supreme law of the land".
20 The Supremacy Clause reads in pertinent part, " This Constitution and the Laws of
2 1 the United States in Pursuance thereof; and all treaties made or which shall be made, under

22 the Authority of
                                      the United States, shall be the supreme Law of                                      the Land; and the Judges

23 in every state shall be bound thereby, any Thing in the Constitution or the Laws of any
24 State to the contrary notwithstanding."
25

26
27
28
                                                                                       28
          Case
           Case3:16-cv-08277-DLR
                3:10-cv-08056-FJM Document
                                   Document14-4       02/09/17 Page 31
                                            1-1 Filed 04/12/10      30 of 49
                                                                          148




 1

 2    The Due Process Clause of                       the United States Constitution requires "timely individual

 3    notice..., before their property can be adversely affected". See Volkswagenwerk

 4   Aktiengesallschaft v. Schlunk, 486 U.S. 694,707 (1988)

 5    Plaintiff      was (unknowingly) deprived of                          Due Process (and other) rights, as

 6    guaranteed under the Fourteenth Amendment of the United States Constitution and, the

 7   Arizona State Constitution; as, Defendants' , in the first instance, through unconscionable

 8   means, caused to be executed a certain Deed of Trust, which, unknown, nor otherwise

 9    explained to Plaintiff, lacked the proper "Notice", having substituted in lieu of, an obscure

10    and/or as yet detected provision for the unfettered power of sale of Plaintiff s propert.

11                Notice is a Due Process issue, that in the absence thereof, constitutes the abrogation

12   of Plaintiff s substantive and procedural due process rights as afforded under the Fifth

13   (5th) and Fourteenth (14th) Amendments, guaranteed Plaintiff                                  by the United States
14   Constitution.

15                Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306 (1950) ("An

16   elemental and fundamental requirement of due process in any proceeding which is to be

17   accorded finality is notice reasonably calculated, under all the circumstances, to apprise

18   interested parties of the pendency of the action and to afford them an opportunity to

19   present their objections.")

20                The Constitution of                the United States and Arizona makes it ilegal for anyone to

21   take propert without                  just compensation and by this amendment (5th) there can be no

22   proceeding against life, liberty, or propert which may result in the observance of                             those

23   general rules established in our system of Jurisprudence for the security of private rights

24   which guarantees to each citizen the equal protection of the laws and prohibits a denial

25   thereof       by any Federal officiaL." (See rights) Bollng v. Sharpe, 327 U.S. 497. U.S. vs

26   Kuwzbzva (DC-CAL) 56£ Supp. 716.

27

28
                                                                                29
        Case
         Case3:16-cv-08277-DLR
              3:10-cv-08056-FJM Document
                                 Document14-4       02/09/17 Page 32
                                          1-1 Filed 04/12/10      31 of 49
                                                                        148




 1

 2    The terms "due process of law" and "natural rights" as used in the Federal Constitution

 3    and/or the Declaration of                    Independence, have been repeatedly declared to be the exact

 4    equivalent of           the phrase "law of               the land" as used in the Magna Charta. 16Am. Jur. 2d

 5    ~
      547.

 6               Plaintiff        hereby incorporates paragraphs one (1) through thirty-nine (39) as if
                                                                                                                         they
 7    are set forth at length herein.

 8               Upon information and belief of Plaintiff, a power of sale clause, whether evidenced

 9    or not, within a Deed of Trust, is akin in performance to a cognovit note and/or confession

10    of judgment, however, it operates far more insidiously; as, it specifically robs the

11    (unkowing) maker of certain or otherwise assured rights and remedies, including, but not

12   limited to Due Process, and redress by appeal, while wholly evading the requisite (form

13
     and maner of) noticing as encumbering cognovits or confessions.

14              Upon information and belief of Plaintiff, the hidden power of sale clause, which in

15   effect, creates a cognovit note/confession of judgment, as irrevocably granted in a Deed of

16   Trust, does just that; it creates conditions that are in violation of the Arizona Constitution.

17               WHAT is A COGNOVIT NOTE? A cognovit note is not an ordinary note. It is

18
     indeed an extraordinary note, which authorizes an attorney to confess judgment against the

19
     person or persons signing it. It is written authority of the debtor and a direction by them

20   for the entry of a judgment against debtor, if the obligation set forth in the note is not paid

21
     when due.

22               Such a      judgment (of confession) may be taken by any person or any company

23   holding the note, only if specifically and dilgently pointed out and discussed as to the

24   legal ramifications in so doing, for it cuts off every defense which the maker of
                                                                                                                   the note

25   might otherwise possess. It likewise cuts                               off all rights of appeal from any judgment taken

26   on it.

27                According to The United States Supreme Court, "a cognovit note is the ancient

28   legal device by which the debtor consents in advance to the holder's obtaining ajudgment
                                                                                 30
              Case
               Case3:16-cv-08277-DLR
                    3:10-cv-08056-FJM Document
                                       Document14-4       02/09/17 Page 33
                                                1-1 Filed 04/12/10      32 of 49
                                                                              148




   1 without notice or hearing, and possibly even with the appearance, on the debtor's behalf,

   2 of an attorney designated by the debtor".

   3 Justice Blackmun, expressing the unanimous view ofthe court in Overmyer v.

  4 Frick. 405 U.S. 174. 92 S.C'. 775. L.Ed.2d 124 (1972), stated the criteria for establishing
   5 constitutionality of a Cognovit Note is not determine upon the theory of
                                                                                                                     the note but the
  6 method used by both parties to afford each other due process protection afforded by
  7 the Fourteenth Amendment. (Emphasis added)

  8 Justice Blackmun stated, "... (i)t was held that (1) a cognovit clause was not, per

  9 se, violative of the Fourteenth Amendment due process requirements as to prejudgment

10 notice and hearing, and (2) under the facts in the instant case, (Overmyer) due process was
11 not violated by the entry of                            the confessed           judgment, since the record established that the
12 debtor had knowingly and voluntarily waived its rights to notice and hearing, with
13 full awareness of the legal consequences,                                          by executing the cognovit note, which was
14 supported by considerationJrom the creditor, and which had resulted from negotiations
15 between the parties of equal bargaining power,..." Id (Emphasis added)
16 Justice Douglas, joined by Justice Marshall concurring, stated, in effect that, (1)
17 the record must establish that a clear and unmistakable, voluntarily and intellgently
18 valid waiver of                     the debtor's constitutional rights, (2)... a trial                   judge was required to
19 vacate a judgment obtained through a cognovit clause when presented sufficient evidence

20 of an affirmative defense to pose a jury question, a preponderance of evidence burden not
21 being imposed, and (3) the preponderance of                                           the evidence in the (present) case does not
22 support even a conclusionary finding that Plaintiff was even aware of the existence of any
23 cognovit note, let alone intentionally, deliberately, knowingly and intellgently waive due
24 process rights.
25 Justice Douglas, further observed, "Debtors receive the benefit of credit at a lower
26 rate of interest than they would receive if they did not give the creditor the right to confess
27 judgment against them. Nevertheless, the right to be heard in court is central to our
28 system of justice, and, as with other constitutional rights, there is no presumption of
                                                                                     31
              Case
               Case3:16-cv-08277-DLR
                    3:10-cv-08056-FJM Document
                                       Document14-4
                                                1-1 Filed 04/12/10
                                                          02/09/17 Page 34
                                                                        33 of 49
                                                                              148




   1 waiver." Overmyer, 405, U.S. 174,31 L. 2d 124, 92S.Ct. 775 (1972) and its companion

   2 case, Swarh v. Lennox, 405 U.S. 191,31 L. ed.2d 138, 92 S.Ct. 767 (1972) and at 186,

   3 188. (Emphasis added)

  4 Based upon the Defendants' lack of credible evidence and/or proof                                                     that Plaintiff
   5 ever waived or was ever advised of legal detriment upon the signing of what must be

   6 characterized, at best, as a hidden cognovit clause, is just preposterous and is sufficient to

   7 warrant presentation to a jury.

   8 In order to help determine the validity of                                                the cognovit note and/or confession of
  9 judgment before this Court, one must concede that the mentioned contract containing the
 10 hidden clause, was never explained to the Plaintiff, so Plaintiffwas never aware of
 11 waiving Fourteenth Amendment rights through a contract of adhesion (ilegal and/or void
 12 contract) or the product of disparity in the parties' bargaining power.
13 Most contracts of adhesion are either procedural and/or substantively
14 unconscionable and, the unconscionabilty alone should void the cognovit clause of                                              this
15 adhesion contract.
16 Plaintiff is aware that in a civil proceeding, acquiescence in the loss of
17 fundamental rights wil not                             be presumed, and, that the rights to due process in a civil
18 judgment are subj ect to waiver. Plaintiff emphatically states that the contract of adhesion
19 was a take it or leave it offer and the cognovit clause was never an issue raised with
20 emphasis, or even raised at all, by the Defendants during the signing ceremonies.
21 Based upon the Plaintiff s recent extensive study of cognovit notes for this matter;
22 (1) this contract was never open to any negotiations, for it was a contract of adhesion, as
23 the parties were not parties of equal bargaining power; (2) the Defendants never gave the

24 Plaintiff any extra consideration in order to obtain any confession of judgment (cognovit
25 note)            clause, nor was the cognovit issued under any other substantial benefit and/or
26 consideration including and not limited to a reduction in installment payments or reduction
27 in interest rates; (3) there was no contention or acknowledgment that the Plaintiff                                         was
28 aware of               the legal (detrimental) consequences of                             the cognovit provision; (4) this Court
                                                                                         32
             Case
              Case3:16-cv-08277-DLR
                   3:10-cv-08056-FJM Document
                                      Document14-4       02/09/17 Page 35
                                               1-1 Filed 04/12/10      34 of 49
                                                                             148




  1 should vacate this prejudgment (confession of judgment or cognovit note) as a matter of

  2 law for showing that Plaintiffs natural Rights to due process were violated.
  3 The clear lack of evidence that Plaintiff ever intentionally, deliberately, and/or
  4 knowingly waived due process rights is further supported by this very Complaint.
  5 Natural rights cannot be waived even if                          that is the intent of   the Plaintiff.
  6 At all times material to this Complaint Plaintiff never waived Constitutional

  7 rights to a trial by jury under any circumstances, much less wilingly, knowingly, or

  8 intentionally.
  9 The United States Supreme Court and the great majority of State Supreme Courts

10 have all adopted the concept as; State's that use cognovit procedure was found
1 1 unconstitutional, unless, the debtor knowingly and understandingly consented to the

12 authorization to confess judgment.
13 In National Equipment Rental, Ltd. v. Szukent, 375, U.S. 311 (1962), the Court
14 observed: "It is settled.. .               that parties to a contract may agree in advance to submit to the

15 jurisdiction of a given court, to permit notice to be served by the opposing party, or even
16 to waive notice altogether." Id., at 315-316:.
17 And, in Boddie v. Connecticut, supra, the Court acknowledges that "the hearing
18 required by due process is subject to waiver." 401 Us., at 378-379. In another case on
19 point is from New Jersey when the Chief Justice described in a rather condescending tone,
20 "a cognovit note is the loosest way of                 binding a man's propert that was devised in any
21 civilized country." Alderman v. Diament, 7 N.J. L. 197, 198.
22 The Supreme Court clarified another par of cognovit note when the Court stated,
23 "we do not presume acquiescence in the loss of fundamental rights, Ohio Bell Tel., Co. v.
24 Public Utilities Comm'n, 301 U.S. 292, 307 (1937), that standard was fully satisfied
25 here."
26 The United States Supreme Court makes it very clear that anyone may waive their
27 due process rights and/or any other right but in order to do so, one must intentionally,
28 knowingly, deliberately, and voluntarily do so.
                                                                33
        Case
         Case3:16-cv-08277-DLR
              3:10-cv-08056-FJM Document
                                 Document14-4       02/09/17 Page 36
                                          1-1 Filed 04/12/10      35 of 49
                                                                        148




 1                  The consequences or legal detriment to waiving one's Rights must be based only
 2   upon an intellgent decision having been presented with the consequences of entering into
 3   an agreement having a cognovit clause, (note and/or confession of                       judgment clause).
 4                  Because a cognovit note deprives the debtor knowledge and of notice that their
 5   property is being seized, without recourse, or, without benefit of                    hearing or appeal, courts
 6   demand "clear and convincing evidence" that the written waiver is "voluntary,
 7   knowing, and intellgently made." The question of                          waiver is factual not presumptive.
 g   This, a jury must decide.
 9                  The Plaintiff is now schooled in the confession of judgment theory through
10   Defendants' application of a hidden within, cognovit note, and, agrees that the knowing
11   and voluntary waiver of one's due process Rights would be pertinent, if, it was truly
12   evident in the present case. Plaintiff agrees that the due process rights to notice and
13   hearing prior to a civil judgment are subject to waiver.
14                  Because the cognovit note deprives the debtor of notice that their property is
15   about to be seized, without benefit of hearing, or right to appeal" courts demand "clear and
16   convincing evidence" that the written waiver was "voluntary, knowing, and intellgently
17   made."
18                  In order for the Defendants to substantially support their position that Plaintiff did
19   voluntarily waive due process rights, Plaintiff states that there was never any warning
20   paragraph, bold letters, bold sentences and/or no warning statement to merit any concern
21   on behalf of         the Plaintiff. One would think to guarantee this basic constitutional question,
22   which is now before this court, the Defendants should have a waring as the following
23   warning to serve as an example:
                            "WARNING -By signing this paper you give up your right
24
                           to notice and court triaL. If you do not pay on time a court
25                         judgment may be taken against you without your knowledge
                           and the powers of a court can be used to collect from you or
26                         your employer regardless of any claims you may have against
27                          the creditor whether for returned goods, faulty goods, failure
                            on their part to comply with the agreement, or any other cause."
28
                                                                          34
              Case
               Case3:16-cv-08277-DLR
                    3:10-cv-08056-FJM Document
                                       Document14-4       02/09/17 Page 37
                                                1-1 Filed 04/12/10      36 of 49
                                                                              148




  1 Plaintiff once again reiterates that Plaintiff                                                was never made aware of any cognovit
  2 note and/or confession of                           judgment at the time of                 their entering into the contract with the
  3 Defendants, or that, Plaintiff ever knowingly waived any Constitutionally guaranteed

  4 rights. Defendants never spent any time on this subject with Plaintiff.

  5 After carefully examining the executed documents Plaintiff stil cannot find any

  6 specific references that Plaintiff                                has, in any way, waived any Constitutionally guaranteed
  7 rights upon execution of                           Defendants' documents.

  8 Based upon further review, the Plaintiff                                                   never witnessed and/or was never verbally
  9 instructed, concerning the loss of due process rights. Anyone may give up their rights,

10 but, only those specifically bargained for.
11 Further, Plaintiff never knowingly, and voluntarily waived rights to notice and
12 hearing, and, was wholly unaware of                                      the legal consequences appertaining thereto.
13 Other factors that this Court must take into consideration, besides the
14 unconstitutionality of                         the purposefully disguised confession of                   judgment, and/or the
15 cognovit note, incognito, but also must consider contracts of adhesions are procedurally

16 and substantively unconscionable contracts, and contract foundations built upon mistakes,
17 inadvertence, excusable negligence, newly discovered information, fraudulent
18 conveyance, misrepresentation and fraud in the inducement in violation of Federal and
19 Arizona State law.
20 The very existence of a contract is the very heart of our commercial system as both
21 parties operate in good faith and any "ilegal provisions of                                           the contract are "void," and
22 thus those provisions were never part of a validly formed contract." Three Valleys
23 Mun. Water Dist. v. E.P. Hutton & Co., 925 P.2d 1136, 1140 (9th Cir. 1991), and
24 "voidness" challenges go to the very existence of a contract provision, and are not merely
25 a defense to a legally formed contract." And one valid defense that the Defendants are
26 raising is "unconscionabilty is not merely a                                              defensive doctrine but rather it goes to
27 the predicate of                      whether a contract was validly formed in the first place." California
28 Grocers Ass'n,                   Inc. v. Bank of               A   merica, 22 Cal.App.4th 205, 217 1994): and the
                                                                                       35
             Case
              Case3:16-cv-08277-DLR
                   3:10-cv-08056-FJM Document
                                      Document14-4       02/09/17 Page 38
                                               1-1 Filed 04/12/10      37 of 49
                                                                             148




  1 "Doctrine of                  Unconscionabilty," procedural and/or substantively are the tools to
  2 determine the validity of                          any contract thus ignoring for now the four main elements of a
  3 contract.

  4 Plaintiff is raising the unconscionabilty (AR~ 47-2302 Unconscionable contract or

  5 clause), as referenced in "Blake v. Ecker. 93 Cal.App.4th 728. 742 (2001)" (the

  6 substantive element of unconscionabilty "traditionally involves contract terms that

  7 are so one-sided as to 'shock the conscience' or that impose harsh or oppressive

  8 terms.") (Emphasis added) (citing                                  Armendariz. 24 Cal.4th at 114). Anyone who would
  9 knowingly agree to a non-judicial foreclosure, where the ilegal bank appointed trustee has
10 the power to foreclose on your home at his and/or her whim, is ludicrous and would have
lIto be totally incompetent.

12 The contract is procedurally unconscionable if                                              "the contract is a standard-form
13 contract, drafted by the party with superior bargaining power, which relegates to the other
1 4 par the option of adhering to its terms without modification or rejecting the contract
15 entirely."; Flores v. Transamerica HomePirst. Inc., 93 CaL.App.4th 846, 853 (2001)
16 (same); Mercuro v. Superior Court, 96 CaL.App.4th 167, 174 (2002), rev. denied.
17 Plaintiff states emphatically that this Court should grant the temporary injunction to
18 allow Defendants sufficient time to disprove that the Deed of Trust is, in fact, a contract
19 void ab initio, and, to dispute Plaintiffs averment to the contrary, that the creation of
                                                                                                                              the
20 contract is supported by a clear and convincing intent of the Plaintiff, for existence of
21 mutual or reciprocal assent. Sanford v. Abrams (1888) 24 Pia 181.2 So 373.. Ross v.
22 Savage (1913) 66 Pia 106. 63 So 148; McCav v. Sever (1929) 98 Pia 710.124 So 44;
23 United State Rubber Products. Inc. v. Clark (1941) 145 Fla 631. 200 So 385; Mann v.
24 Thompson (1958. Fla App D 1) 100 So 2d 634.
25 The Plaintiff hereby states that for a valid contract to exist with the Defendants
26 and/or any creditor, the contract must have assent be to a certain and definite
27 proposition. For example, this Court, operating under cold neutrality, should demand that

28 both sides produce all the substantial records, including and not limited to the accounting
                                                 36
              Case
               Case3:16-cv-08277-DLR
                    3:10-cv-08056-FJM Document
                                       Document14-4
                                                1-1 Filed 04/12/10
                                                          02/09/17 Page 39
                                                                        38 of 49
                                                                              148




   1 records for a determination as far as consideration. Fincher v. Belk-Sawver Co. (1961,

  2 FlaAppD3) 127 So 2d 130,. Go((v. Indian Lake Estates, Inv. (1965, FlaAppD2) 178
  3 So 2d 910; Hewitt v. Price (1969, Fla App D3) 222 So 2d 247.

  4 The Plaintiff contends that without a meeting of the minds of the parties on an

  5 essential element (consideration), there can be no enforceable contract. Hettenbaugh

  6 v. Keves-Ozon-Fincher Ins., Inc. (1962, Fla App D3) 147 So 2d 328; Go((v. Indian

  7 Lake Estates, Inc. (1965, Fla App D2) 178 So 2d 910.
  8 The Plaintiff                             has established enough doubt as to the validity of an enforceable
  9 contract that this court is required to determine the enforceability of the contract and

10 determined what pary breached the terms and conditions of the contract and in order to

11 form a valid contract, the parties must have a distinct understanding, common to both,
12 and without doubt or difference. Unless all understand alike, there can be no assent,
13 and therefore no contract. Webster Lumber Co. v. Lincoln (1927) 94 Fla 1097,115 So

14 498; Minsky's Follies o(Florida, Inc v. Sennes (1953 206 F2d 1; O'neill v. Corporate
15 Trustees, Inc. (1967) 376 F2d 818.
16 The Plaintiff                             hereby declares that the Defendants have greatly injured the Plaintiff
17 through and not limited to misrepresentation, truth in lending, UDAP and unjust
18 enrichment as a result of                            the Defendant's deliberate, conspired, intentional, and malicious

19 fraud. Further, Defendants' and/or their counsel have violated, inter alia, the Professional
20 Code of Conduct and procured this ilegal and/or voidable contract which lacks the
21 essential elements of                       real assent and obtained the Plaintiffs Signature as result of                     the
22 exercise of duress or undue influence by the other party, or procured by the fraud of
23 one of the parties, lacks the essential element of real assent and may be avoided by
24 the injured party. Wallv. Bureau o(Lathing and Plastering                                                    (1960, FlaApp D3) 117 So
25 2d 767.

26 Being that the Plaintiff is asking for this court to protect Plaintiff s due process
27 rights and stay the sale and provide the Plaintiff                                        with their right to a Trial by Jury for the
28 Plaintiff never agreed to a non-judicial foreclosure and any creditor must prove
                                                                                     37
              Case
               Case3:16-cv-08277-DLR
                    3:10-cv-08056-FJM Document
                                       Document14-4       02/09/17 Page 40
                                                1-1 Filed 04/12/10      39 of 49
                                                                              148




  1 compliance with all the terms and conditions and specifically consideration and
  2 substantiate actual assent by the parties upon exactly the same matters is

  3 indispensable to the formation of a contract. Bullock v. Hardwick (1947) 158 Fla 834,

  4 30 So 2d 539: Hettenbaugh v. Keyes- Ozon - Fincher Ins. ,Inc (1962, FlaApp D3) 147

  5 So 2d 328: General Finance Corp. V. Stratton (1963 FlaApp D1) 156 So 2d 664.
  6 Unconscionabilty is deemed to exist when a two-prong test is met, that is when it is
  7 established that both procedural and substantive unconscionabilty exist. Blake v. Ecker,

  8 93 Cal App 4th 728 (2001). According to Restatement of                      Contracts (2nd Ed. 1990)

  9 commentary accompanying section 208.

10 Most state unconscionabilty jurisprudence is sub-divided into two branches:
11 substantive and proceduraL. Substantive unconscionabilty refers to oppressively one-sided

12 and harsh terms of a contract, while procedural unconscionabilty involves the manner and

13 process by which the terms become part of the contract including unequal bargaining

14 power and hidden                       ,contract terms. Comb v. PayPal Inc., Case No. C-02-1227 and C-02-

15 2777 USDC CA No. Dist. San Jose Div (9th Cir. 2002); Blake, supra; Kloss v. Edward
16 D. Jones & Co., 2002 MT 129; 310 Mont. 123; 54 P3d 1,.2002 Mont. LEXIS 223 (MT

17 Sup Ct 2002).

18 The process by which a contract comes into existence is at the heart of procedural
19 unconscionabilty such that the contract in question is typically one of adhesion. Flores v.
20 Transamerica HomeFirst, Inc., 93 Cal App 4th 846 (2001).
21 Analysis of unconscionabilty begins with an inquiry into whether the contract
22 (Deed of               Trust) was a contract of adhesion i.e., a standardized contract, imposed upon the
23 subscribing party without an opportunity to negotiate the terms and the conditions is an
24 oppressive, "take it or leave it offer, an inequality of               bargaining position when under
25 scrutiny are so one sided that the terms and conditions are so supportive of the superior
26 bargaining power and actually detrimental or no real negotiations and an absence of
27 meaningful choice through an unequal bargaining position of                     the weaker party.

28 Armendariz v. Foundation Health Psychcare Services, Inc., 24 Cal.4th 83, 113, 99 Cal.
                                                                  38
              Case
               Case3:16-cv-08277-DLR
                    3:10-cv-08056-FJM Document
                                       Document14-4
                                                1-1 Filed 04/12/10
                                                          02/09/17 Page 41
                                                                        40 of 49
                                                                              148




   1 Rptr. 2d 745,6 P3d 669 (2000). Graham v. Scissor-Tail, Inc., 28 Cal3d 807, 819,171
   2 Cal. Rptr. 604, 623 P.2d 165 & n.16 (1981).

   3 Plaintiff never agreed to place their property in an irrevocable trust, nor, did
  4 Plaintiff ever knowingly agree to have their home subject to a power of sale clause. As a

   5 matter of fact, Plaintiff hereby declares that they have never heard of that term power of

  6 sale, and, what that term meant, until recently.

  7 Plaintiff likewise, did not know that the term "seised" impared a wholly different

   8 connotation than "seized", whereby, upon recent understanding of                               Plaintiff, "seised"
  9 indicates that Plaintiff actually owned their property free and clear, without encumbrance,

 10 prior to signing a Deed of Trust, without benefit of consideration.
 lIThe concept of seising, dates back to the middle ages when the serfs, who were

 12 made to consider themselves not worthy of owning land, would actually give their
13 properties through seising (gave it away absolutely free) to their masters. Today this
14 unconscionable practice is stil being utilzed by bankers, constituting an unjust
15 enrichment, through concealment and deception and outright stupidity on this Plaintiff,
16 who suffers from the least susceptible and/or susceptible consumer syndrome.
17 Plaintiff now challenges this practice as being procedural and substantively
18 unconscionable Clauses contained in this referenced contract (Deed of                                Trust) these should
19 be challenged by this court as the Deed of                              Trust, did not and does not represent the true
20 intentions of the Plaintiff.
21 Plaintiff would not knowingly agree to the placing of an irrevocable trust against
22 thier home by any mortgage company and/or banker and would not have given their
23 property to anyone through the middle ages policy of seising. At trial, it would become
24 apparent that the trier of facts could not find an objectively clear and unambiguous
25 expression of                  mutual intent of             these objectionable and substantively unconscionable

26 shocking terms.

27 In the absence of conflcting parol evidence, the interpretation of a written contract
28 is essentially a judicial function subject to independent review by this Court or on appeaL.
                                                    39
             Case
              Case3:16-cv-08277-DLR
                   3:10-cv-08056-FJM Document
                                      Document14-4       02/09/17 Page 42
                                               1-1 Filed 04/12/10      41 of 49
                                                                             148




   1 A trial court's threshold determination as to whether there is an ambiguity permitting the
  2 admission of                  parol evidence is also a question oflaw subject to independent review.
  3 If parol evidence is admissible, and the competent parol evidence is in conflct, the

  4 construction of                   the contract becomes a question of                   fact. However, if    the parol evidence is
  5 not conflicting, the appellate court wil independently construe the writing.

  6 The duty of this Court is to schedule a hearing and permit the Defendants to

  7 actually produce documented evidence that Plaintiff, understood that Plaintiff                                        was already

  8 lawfully seised of                    propert, prior to signing the Deed of                     Trust, and thereafter, knowingly,
  9 intentionally, and, deliberately agreed to a (unseen) power of sale clause, and, irrevocable

10 grant, executed, without consideration, to the sole benefit of Defendants.

1 1 However, this Court should also recognize the risk that such provisions may be
12 included in a trust deed or mortgage without the debtor's knowledge or understanding.

13 Clauses such as this are often termed "dragnet" or "anaconda," as by their broad and
14 general terms they enwrap the unsuspecting debtor in the folds of indebtedness and
15 deceptive practices (concealing deceptively, the power of sale clause in which Plaintiff
16 never was told and/or knew that it was actually part of                                       the alleged contract).

17 The proponent of a dragnet clause bears the burden of establishing that the parties
18 intended all existing or contemporaneous clauses to be included within its scope. A trust
19 deed containing a dragnet clause that is printed on a standard bank form is considered a
20 contract of adhesion under Arizona law.
2 i Although contracts of adhesion are generally enforceable according to their terms,

22 a provision contained in such a contract cannot be enforced if it does not fall within the
23 reasonable expectations of                            the weaker or adhering party.
24 This Court should examine a number of factors in determining whether broadly
25 worded dragnet clauses (Seised and irrevocable trust) was mutually intended by the parties
26 to be included in the terms and conditions: (1) the language and specificity of                                        the dragnet

27 clause; (2) whether the parties were aware of                                     the dragnet clause and appreciated its

28 significance and would have benefited by their existence; (3) were the clauses
                                               40
             Case
              Case3:16-cv-08277-DLR
                   3:10-cv-08056-FJM Document
                                      Document14-4
                                               1-1 Filed 04/12/10
                                                         02/09/17 Page 43
                                                                       42 of 49
                                                                             148




  i procedurally and/or substantively unconscionable and benefited the one party at the

  2 expense of the other party taking into account the degree of negotiability being exerted

  3 upon the smaller part with inferior bargaining position against the larger party with
  4 superior bargaining power.

  5 The Defendant's intentional concealment of                                          the Power of Sale Clause in the Deed
  6 of Trust further insures Plaintiff s allegations of deceptive intentions of the Defendants.

  7 Plaintiff hereby avers that for this Court to precede with this sale, this Court must

  8 find an objective and clear unambiguous expression of mutual intent to where the Plaintiff

  9 intentionally, deliberately, knowingly desired to place the home into a non-revocable trust,

10 to allow the Defendant's to have the home seised, power of                                   sale and knowingly waived
11 due process rights including and not limited to trial by jury. This Court has in its inherent
12 authority, the duty to stop this "Deed of                         Trust Sale" upon the unsuspecting mortgagor in

13 the folds of indebtedness embraced and secured in the mortgage which Plaintiff did not
14 contemplate or understand their presence or implications.
15 However, "(tJhere are two judicially imposed limitations on the enforcement of
16 adhesion contracts or provisions thereof. The first is that such a contract or provision
1 7 which does not fall within the reasonable expectations of                                 the weaker or 'adhering' party

1 8 wil not be enforced against him. . . The second - a principle of equity applicable to all
19 contracts generally - is that a contract or provision, even if consistent with the reasonable
20 expectations of the parties, wil be denied enforcement if, considered in its context, it is
21 unduly oppressive or 'unconscionable.
22 The irrevocable trust, the hidden power of sale clause, due process violations and
23 the seising clauses are four examples of                          Plaintiff        being ivolved with procedurally and
24 substantively violations of                          unconscionabilty, thus voiding this contract from its

25 incipience.
26 A contract of adhesion is "a standardized contract, which, imposed and drafted by
27 the part of superior bargaining strength, relegates to the subscribing party only the

28 opportunity to adhere to the contract or reject it" (Armendariz v. Foundation Health
                                                                                 41
             Case
              Case3:16-cv-08277-DLR
                   3:10-cv-08056-FJM Document
                                      Document14-4       02/09/17 Page 44
                                               1-1 Filed 04/12/10      43 of 49
                                                                             148




   1 Psychcare Serv., 24 Cal                          4th 83 at 113 (2000): reflected          in Martinez v. Master Protection
   2 Corp., 118 Cal. App. 4th 107: 2004 Cal. App. LEXIS 638 (2004) -- is not unconscionable

   3 merely because of disparity of the parties' bargaining position (Gilmer v.
   4 Interstate/Johnson Lane Corp., 500 US 20,.114 L. Ed. 2d 26,111 St. Ct. 1647 (1991).

   5 Rather, the procedural unconscionability must co-exist with substantive components that

   6 include harsh or one-sided results that "shock the conscience". Soltani v. West. & So. Life

   7 Ins. Co., 258 F.3d 1038 (9th Cir. 2001): Ferguson v. Countrywide Credit Industries,

   8 Inc., 298 F.3d 778: 2002 U.S. App. LEXIS 14739 (9th Cir. 2002): Circuit City Stores,
  9 Inc. v. Mantor, 335 F.3d 1101: 2003 U.S. App. LEXIS 14607 (9th Cir.2003).

 10 When a party to a contract possesses far greater bargaining power (Defendants
 11 and/or any creditor) than another party (Plaintiff), or when the stronger part pressures,
 12 harasses, or compels another party into entering into a contract, '''oppression and,

 13 therefore, procedural unconscionability, are present." Ingle v. Circuit City Stores, Inc.,
14 328 F.3d 1165, at 1172 (9th Cir. 2003) (quoting Ferguson v. Countrywide Credit Indus.,
15 Inc., 298 F.3d 778 (9th Cir. 2002),. Kinney v United Health                                    Care Services, Inc., 70 Cal
16 App 4th 1322 (1999).
17 Substantive unconscionabilty addresses the fairness of the term in dispute. It
18 traditionally involves contract terms that are so one-sided as to "shock the conscience," or
19 impose harsh or oppressive terms. Historically, courts looked to the common law for
20 discerning the existence of substantive unconscionabilty as in Rako(f Contracts of
21 Adhesion: An Essay in Reconstruction, 96 Harv. L. Rev. 1173,1179-1180 (1983):
22 Slawson, Mass Contracts: Lawful Fraud in California, 48 S. Cal. L. Rev. I, 12-13
23 (1974): K. Llewellyn, The Common Law Tradition 370-371 (1960).

24 "The common law, recognizing that standardized form contracts account for a
25 significant portion of all commercial agreements.. .                                  subjects terms in contracts of adhesion
26 to scrutiny for reasonableness." Judge J. Skelly Wright set out the state of                                 the law
27 succinctly in Willams v. Walker-Thomas Furniture Co., 121 U. S. App. D. C. 315,319-
28 320,350 F. 2d 445,449-450 (1965) (footnotes omitted):
                                                                                    42
         Case
          Case3:16-cv-08277-DLR
               3:10-cv-08056-FJM Document
                                  Document14-4
                                           1-1 Filed 04/12/10
                                                     02/09/17 Page 45
                                                                   44 of 49
                                                                         148




 1                "Ordinarily, one who signs an agreement without full knowledge of
                                                                                                                 its terms might
 2    be held to assume the risk that he has entered a one-sided bargain. But when a party of
 3    little bargaining power, and hence little real choice, signs a commercially unreasonable
 4    contract       with little or no knowledge of                      its terms, it is hardly likely that Plaintifts consent,
 5    or even an objective manifestation ofPlaintifts consent, was ever given to all of
                                                                                                                       the
 6    terms. In such a case the usual rule that the terms of                              the agreement are not to be questioned

 7    should be abandoned and the court should consider whether the terms of the contract are
 8    so unfair that enforcement should be withheld."
 9
      DECLARATORY RELIEF
10

11               Pursuant to the Declaratory Judgment Act, this Honorable Court may enter a

12   declaratory judgment to determine the rights of the Plaintiff, regarding the aforesaid

13   claims and controversies arising there from.

14               The primary purpose of a declaratory judgment is to quickly determine issues, if

15   left otherwise delayed, wil cause irreparable injury and harm to the Plaintiff, and, to

16   afford certain relief from uncertainty and insecurity by effectively determining the legal

17   rights, status and relations of                    the Plaintiff and the Defendants.

18               A declaratory judgment is absolutely necessary in the present instance to speedily

19   effectuate the rights and status of Plaintiff in relation to the Defendants as well as delineate

20   the authority of each of the Defendants in their actions as taken against the Plaintiff.

21               Delay in granting Plaintift s request for a declaratory judgment wil result in

22   irreparable harm and injury to Plaintiff, without abilty to                              otherwise address Plaintifts

23   grievances to the degree and means that would be otherwise availed.
24               Declaratory judgments are proper when (1) an actual controversy exists, (2)

25   litigation appears imminent and inevitable, (3) the Plaintiff                              has a direct, substantial and
26   present interest, and (4) the declaration sought wil be of practical help in ending the

27   controversy.

28
                                                                                43
            Case
             Case3:16-cv-08277-DLR
                  3:10-cv-08056-FJM Document
                                     Document14-4       02/09/17 Page 46
                                              1-1 Filed 04/12/10      45 of 49
                                                                            148




 1                   An actual controversy exists between Plaintiff and Defendants, both individually
 2     and collectively, as Defendants continue to usurp Plaintiff s rights, unabated, in the
 3    wholesale deprivation of Plaintiff s rights and, abrogation of Plaintiff s property.
 4                   Additional          litigation is imminent and inevitable, pending this court's determination
 5    of         the controversy, that in the absence thereof, Plaintiffwil be forced to proceed in
 6    securing their rights, as opposed to Defendants meritless and/or unlawful actions
 7    undertaken against Plaintiff.
 8                   Plaintiff clearly has a direct, substantial and present interest in the controversy.
 9                   A declaratory judgment wil aid in ending the controversy, or in the alternative,
10    clearly establish the rights of                        Plaintiff and the authority and/or lack thereof, of
11    Defendant( s).
12
      INJUNCTIVE RELIEF
13

14                   Plaintiffs right to injunctive relief               seems clear: An injunction is absolutely
15
     necessary to avoid a further and yet greater injury, as result of                         Defendants continued and
16
     unbridled actions.
17
                    It is abundantly clear from the foregoing cause(s) as stated herein, that, sufficient
18
     grounds to warrant an injunction have been established, until, all facts are fully and
19
     properly clarified, as, to be accomplished following the completion of discovery.
20                  It is averred that Defendants, both individually and collectively, have acted in bad
21   faith, in their attempts to unlawfully wrestle Plaintiff s propert.
22                  It is averred that Defendants, whether individually and/or collectively, have entered
23   certain documents into the public record, for the purpose                           of reliance thereupon, which,
24   Plaintiff           believes are not supported by the facts, should this Court allow them to be
25   brought to light.
26                  Plaintiff      wil be irreparably harmed, without effective recourse, should this Court
27   deny Plaintiffs plea for injunctive relief; whereas, Defendants wil not be so harmed,
28
                                                                           44
        Case
         Case3:16-cv-08277-DLR
              3:10-cv-08056-FJM Document
                                 Document14-4       02/09/17 Page 47
                                          1-1 Filed 04/12/10      46 of 49
                                                                        148




 1   should this court grant Plaintiffs relief, pending the full and complete adjudication of
 2   salient issues as raised in this complaint.
 3               Because of the intentional deceptive nature of the Defendants, this Court should
 4   grant the temporary injunction in the name of                                      justice and a matter of good law. "Where
 5   administrative action may result in the loss of property and/or life, or of all that
 6   makes life worth living, and doubt as to the extent of power delegated to
 7   administrative officials is to be resolved in citizen's favor and court must be
 8   especially sensitive to the citizen's rights where proceeding is non-judicial" United
 9   States v. Minker. 350 U.S. 179; 76 S. Ct. 281 (1956).
10

11   CONCLUSION
12
                 Plaintiff        respectfully seeks this Court to do their constitutional duty (Oath) that this
13
     Court is required to under their Constitutional oath to protect and defend the Constitutional
14
     rights of the individual against this corporate giant and ask this Court to protect the
15
     Plaintiffs rights according to the "Law of                                  the land," "due process of    law," and "due
16
     course of               law" are synonymous. People v. Skinner. Cal.. 110 P.2d 41.45; State v. Rossi.
17
     71, R.L 284. 2d 323,326; Direct Plumbing Supply Company v. City of                                          Dayton. 138 Ohio
18
     St. 540,38 N.E. 2d 70, 72,137 A.L.R. 1058; Stoner v. Higginson, 316 Pa. 481. 175 A.
19
     527,531.
20
                 All litigants have a Constitutional right to have their claims adjudicated according
21
     to the rule of            precedent. See: Anastasoffv. United States, 223 F.3d 898 (8th Cir. 2000).
22
     The Plaintiff never knew that Plaintiff was entering into a non-judicial foreclosure contract
23
     and was never advised about unkowingly waving Federal and State Constitutional rights
24
     to have a trial by Jury. "We are bound to interpret the Constitution in the light of                                     the
25
     law as it existed at the time it was adopted." Mattox v. U.S.. 86 S.Ct. 237 (1938).
26
                 "Nothing can be more material to the obligation than the means of
27
     enforcement. Without the remedy the contract may, indeed, in the sense of                                      the law, be
28
                                                                                   45
             Case
              Case3:16-cv-08277-DLR
                   3:10-cv-08056-FJM Document
                                      Document14-4
                                               1-1 Filed 04/12/10
                                                         02/09/17 Page 48
                                                                       47 of 49
                                                                             148




  1

  2 said not to exist, and its obligation to fall within the class of those moral and social duties
  3 which depend for their fulfillment wholly upon the wil of the individuaL.
  4
  5 The ideas of validity and remedy are inseparable, and both are parts of the
  6 obligation, which is guaranteed by the Constitution against invasion. The obligation

  7 of a contract 'is the law which binds the parties to perform their agreement."

  8 RED CROSS LINE vs. ATLANTIC FRUIT COMPANY. 264 U.S.                                                                      109. 68 L. Ed. 582.
 9 44 S. Ct. 274 Februarv 18.1924 Decided.

10 F or want of all of the above, Plaintiff now seeks this honorable Court's immediate
11 intervention for the re-establishment and/or protection ofPlaintifls rights. Plaintiff
12 believes, in consideration of all of the foregoing, that Plaintiff has established just and
13 proper cause for this Court to immediately intervene, by enjoining Defendants from any
14 further action, lest further, irreparable harm and injury, and loss of                                               property befall
15 Plaintiff; and, to further issue declaratory relief consistent herewith.
16

17                    WHEREFORE, Plaintiff                             respectfully prays upon this court to grant Plaintiff

18
          declaratory and injunctive relief, consistent with the findings of the aforesaid, including,

19
         but not limited to, enjoining the above-named Defendants, as well as any party, yet

20       unnamed Defendant(s), from Sellng, Converting, or, by any means whatsoever,

21       Dispossessing Plaintiff of                       Propert, until all Facts, are Clarified, as to be                     determined

22       following the completion of discovery, which is now pending, and, to provide Plaintiff,

23       thereafter, Oral Argument, and/or any other relief                                         this court deems just and proper.
                                                                                                                   /'                        //
                                                                                                                 .¿i
                                                                                                                  , /. //,--7/
                                                                                                                          //P?","/

                                                                                                              ,/
24                                                                                                            ~// if ,Ii ( ,
25
                                                                                                              riic~:eil~~:~;~~~~,£(;~;/
26                                                                                                                       f


27
28
                                                                                       46
            Case
             Case3:16-cv-08277-DLR
                  3:10-cv-08056-FJM Document
                                     Document14-4       02/09/17 Page 49
                                              1-1 Filed 04/12/10      48 of 49
                                                                            148




     i   COPYRGHT NOTICE: The above-mentioned entity is quoting citations 'as
         purported in' context to copyrighted case law, statutes, rules of court and court
     2
         decision material as found in books published with Federal or state funding
     3   supplied by the Citizens of the united States of America and intended for use by
         attorneys, and does so under the provisions of the Fair use clause of the copyright
 4       laws of the United States.
 5

 6       ORIGINAL of      the foregoing filed with
         the Clerk of   the Cour, and COPY hand-
 7       delivered in court this 22nd day of
         March, 2010.
 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22
23

24
25

26
27
28
                                                     47
Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 49 of 148




         Exhibit 16
                                                Case
                                                   Case
                                                     3:16-cv-08277-DLR
                                                        3:10-cv-08056-FJM
                                                                        Document
                                                                           Document
                                                                                 14-41 Filed 02/09/17
                                                                                             04/12/10 Page 50
                                                                                                           1 ofof3148


                                        1   BRYAN CAVE LLP, #00145700
                                            Robert W. Shely (No. 014261)
                                        2   Gregory B. Iannelli (No. 026549)
                                        3   Two N. Central Avenue, Suite 2200
                                            Phoenix, AZ 85004-4406
                                        4   Telephone: (602) 364-7000
                                        5   Facsimile: (602) 364-7070
                                            rwshely@bryancave.com
                                        6   gregory.iannelli@bryancave.com
                                        7
                                            Attorneys for Defendants Bank of America N.A.,
                                        8   BAC Home Loans Servicing LP, Recontrust Company N.A., and
                                            Mortgage Electronic Registration Systems Inc.
                                        9
                                       10
                                       11
Two North Central Avenue, Suite 2200




                                                                     IN THE UNITED STATES DISTRICT COURT
                                       12
    Phoenix, Arizona 85004-4406




                                                                      IN AND FOR THE DISTRICT OF ARIZONA
                                       13
          Bryan Cave LLP


           (602) 364-7000




                                            MICHAEL J. BROSNAHAN,                         No.
                                       14
                                       15                    Plaintiff,                   NOTICE OF REMOVAL
                                                       vs.
                                       16
                                       17   BANK OF AMERICA, formerly Countrywide
                                            Bank; BAC HOME LOANS SERVICING LP;
                                       18   RECONTRUST COMPANY; MERS; and
                                            JOHN DOES 1-10,000,
                                       19
                                       20                    Defendants.

                                       21
                                       22              PLEASE TAKE NOTICE that Defendants Bank of America N.A., BAC Home Loans
                                       23   Servicing LP, Recontrust Company N.A., and Mortgage Electronic Registration Systems
                                       24   Inc. (collectively, “Defendants”) hereby remove to this Court an action pending in the
                                       25   Arizona Superior Court (No. CV2010-00224) pursuant to 28 U.S.C. §§ 1331 and 1332 for
                                       26   the reasons set out below.
                                       27
                                       28


                                            666264.1
                                                Case
                                                   Case
                                                     3:16-cv-08277-DLR
                                                        3:10-cv-08056-FJM
                                                                        Document
                                                                           Document
                                                                                 14-41 Filed 02/09/17
                                                                                             04/12/10 Page 51
                                                                                                           2 ofof3148


                                        1
                                                       1.   On March 22, 2010, Plaintiff Michael J. Brosnahan filed an action in the
                                        2
                                            Superior Court of the State of Arizona, Coconino County, entitled Michael J. Brosnahan v.
                                        3
                                            Bank of America et al., No. CV2010-00224 (Ariz. Super. Ct. filed Mar. 22, 2010).
                                        4
                                                       2.   Removal of this action is proper under 28 U.S.C. § 1331 because Plaintiff has
                                        5
                                            alleged violations of the Fourteenth Amendment to the United States Constitution.
                                        6
                                                       3.   Removal of this action is proper under 28 U.S.C. § 1332 because Plaintiff is a
                                        7
                                            citizen of the State of Arizona; Bank of America N.A. is a citizen of the State of North
                                        8
                                            Carolina; Mortgage Electronic Registration Systems Inc. is a citizen of the State of Virginia;
                                        9
                                            Recontrust Company N.A. is a citizen of the State of California; and BAC Home Loans
                                       10
                                            Servicing LP is a citizen of the State of North Carolina. Plaintiff seeks, among other things,
                                       11
Two North Central Avenue, Suite 2200




                                            to prevent Defendants from enforcing his mortgage obligations, which have a value in
                                       12
    Phoenix, Arizona 85004-4406




                                            excess of $75,000.00.
                                       13
          Bryan Cave LLP


           (602) 364-7000




                                                       4.   A true and correct copy of the Certificate on Compulsory Arbitration,
                                       14
                                            “Judicial Notice,” and “Memorandum of Points and Authorities,” as filed with the Coconino
                                       15
                                            County Superior Court, is attached hereto as Exhibit A.
                                       16
                                                       5.   This Notice of Removal is timely filed under 28 U.S.C. § 1446(b).
                                       17
                                                       6.   Defendants have served a copy of this Notice of Removal on Plaintiff in
                                       18
                                            accordance with 28 U.S.C. § 1446(d).
                                       19
                                                       7.   A copy of the Notice of Removal to Federal Court has been filed with the
                                       20
                                            Superior Court Clerk of Coconino County in accordance with 28 U.S.C. § 1446(d), and
                                       21
                                            attached hereto as Exhibit B.
                                       22
                                                       8.   This Notice is signed pursuant to Federal Rule of Civil Procedure 11 in
                                       23
                                            accordance with 28 U.S.C. § 1446(a).
                                       24
                                       25
                                       26
                                       27
                                       28


                                            666264.1                                       2
                                                Case
                                                   Case
                                                     3:16-cv-08277-DLR
                                                        3:10-cv-08056-FJM
                                                                        Document
                                                                           Document
                                                                                 14-41 Filed 02/09/17
                                                                                             04/12/10 Page 52
                                                                                                           3 ofof3148


                                        1
                                                       DATED this 12th day of April, 2010.
                                        2
                                                                                       BRYAN CAVE LLP
                                        3
                                        4
                                                                                       By        s/ Gregory B. Iannelli
                                        5                                                        Robert W. Shely
                                        6                                                        Gregory B. Iannelli
                                                                                                 Two North Central Avenue, Suite 2200
                                        7                                                        Phoenix, Arizona 85004-4406
                                        8                                                        Attorneys for Defendants Bank of America
                                        9                                                        N.A., BAC Home Loans Servicing LP,
                                                                                                 Recontrust Company N.A., and Mortgage
                                       10                                                        Electronic Registration Systems Inc.
                                       11
Two North Central Avenue, Suite 2200




                                            COPY of the foregoing electronically filed
                                       12   using the CM/ECF System this 12th day of
    Phoenix, Arizona 85004-4406




                                            April, 2010.
                                       13
          Bryan Cave LLP


           (602) 364-7000




                                       14   COPY of the foregoing mailed
                                            this 12th day of April, 2010, to:
                                       15
                                            Michael J. Brosnahan
                                       16
                                            Private Mail Box 11-188
                                       17   2370 West Highway 89A
                                            Sedona, Arizona 88336
                                       18   mtk63@hotmail.com
                                       19
                                       20   s/ Amy Robinson

                                       21
                                       22
                                       23
                                       24
                                       25
                                       26
                                       27
                                       28


                                            666264.1                                         3
Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 53 of 148




         Exhibit 17
CM/ECF - azd                                                  https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?805123632014122-L_1_0-1
                     Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 54 of 148
                                                                                                          CLOSED,STD

                                          U.S. District Court
                                DISTRICT OF ARIZONA (Prescott Division)
                              CIVIL DOCKET FOR CASE #: 3:10-cv-08056-FJM


         Brosnahan v. Bank of America et al                              Date Filed: 04/12/2010
         Assigned to: Judge Frederick J Martone                          Date Terminated: 06/30/2010
         Related Case: 3:16-cv-08277-DLR                                 Jury Demand: Plaintiff
         Case in other court: USDC, District of AZ (PHX) Incorrect       Nature of Suit: 220 Real Property:
                             Division, CV-10-00808-PHX-DGC               Foreclosure
                             Coconino County Superior Court,             Jurisdiction: Federal Question
                             CV2010-00224
         Cause: 28:1331(a) Fed. Question: Real Property

         Plaintiff
         Michael J Brosnahan                              represented by Michael J Brosnahan
                                                                         2370 W Highway 89A
                                                                         PMB 11-188
                                                                         Sedona, AZ 88336
                                                                         928-300-6030
                                                                         PRO SE


         V.
         Defendant
         Bank of America                                  represented by Gregory Bryan Iannelli
         formerly known as                                               Bryan Cave LLP
         Countrywide Bank                                                2 N Central Ave
                                                                         Ste 2200
                                                                         Phoenix, AZ 85004-4406
                                                                         602-364-7053
                                                                         Fax: 602-364-7070
                                                                         Email: gregory.iannelli@bryancave.com
                                                                         ATTORNEY TO BE NOTICED

                                                                         Robert W Shely
                                                                         Bryan Cave LLP
                                                                         2 N Central Ave., Ste. 2200
                                                                         Phoenix, AZ 85004-4406
                                                                         602-364-7000
                                                                         Fax: 602-364-7070
                                                                         Email: rwshely@bryancave.com
                                                                         ATTORNEY TO BE NOTICED




1 of 5                                                                                                            2/8/2017 9:55 AM
CM/ECF - azd                                                 https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?805123632014122-L_1_0-1
                      Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 55 of 148

         Defendant
         BAC Home Loans Servicing LP                     represented by Gregory Bryan Iannelli
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

                                                                        Robert W Shely
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

         Defendant
         Recontrust Company                              represented by Robert W Shely
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

                                                                        Gregory Bryan Iannelli
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

         Defendant
         MERS                                            represented by Robert W Shely
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

                                                                        Gregory Bryan Iannelli
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

         Defendant
         Unknown Parties
         named as John Does 1-10,000


         Date Filed      #   Docket Text
         04/12/2010      1 NOTICE OF REMOVAL from Coconino County Superior Court, case number
                           CV2010-00224 Filing fee received: $ 350.00, receipt number 0970-3812497, filed by
                           Recontrust Company, BAC Home Loans Servicing LP, Bank of America, MERS.
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Civil Cover Sheet, # 4 Attachment to
                           Civil Cover Sheets, # 5 Supplement Civil Cover Sheet, # 6 Declaration)(Iannelli,
                           Gregory) (Entered: 04/12/2010)
         04/12/2010      2 Corporate Disclosure Statement by BAC Home Loans Servicing LP, Bank of America,
                           MERS, Recontrust Company. (Iannelli, Gregory) (Entered: 04/12/2010)
         04/12/2010       3 This case has been assigned to the Honorable Paul G. Rosenblatt. This case was
                            originally filed in the Phoenix division in error as case number CV-10-808-PHX-DGC.
                            All future pleadings or documents should bear the correct case number: CV-10-8056-
                            PCT-PGR. This is a TEXT ENTRY ONLY. There is no PDF document associated with


2 of 5                                                                                                           2/8/2017 9:55 AM
CM/ECF - azd                                                   https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?805123632014122-L_1_0-1
                      Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 56 of 148

                             this entry. (AMB) (Entered: 04/13/2010)
         04/12/2010       4 Notice re Magistrate consent form. (AMB) (Entered: 04/13/2010)
         04/13/2010       5 Miscellaneous Document: Removal letter from USDC, District of Arizona. (AMB)
                            (Entered: 04/13/2010)
         04/13/2010       6 NOTICE TO FILER OF DEFICIENCY re 1 Notice of Removal, filed by Recontrust
                            Company, BAC Home Loans Servicing LP, Bank of America, MERS. Description of
                            deficiency: Incorrect Division Selected. Incorrect division Phoenix selected. Correct
                            division is Prescott. (AMB) (Entered: 04/13/2010)
         04/13/2010       7 Minute Order Due to clerical error, this case was assigned to Judge Paul G. Rosenblatt.
                            THEREFORE, this case will now be assigned to Magistrate Judge Edward C. Voss. All
                            further pleadings/papers should now list the following COMPLETE case number: CV
                            10-8056-PCT-ECV. (Attachments: # 1 Instructions, # 2 Consent Form) (MAP)
                            (Entered: 04/13/2010)
         04/13/2010          Magistrate Election Form Deadline (4/27/10) set as to Defendants. (MAP) (Entered:
                             04/13/2010)
         04/14/2010       8 Party Elects Assignment of Case to District Judge Jurisdiction. This is a TEXT ENTRY
                            ONLY. There is no PDF document associated with this entry. (MAP) (Entered:
                            04/15/2010)
         04/15/2010       9 Minute Order Pursuant to Local Rule 3.8(a), a request has been received for a random
                            reassignment of this case to a District Judge FURTHER ORDERED Case reassigned by
                            random draw to Judge Frederick J. Martone. All further pleadings/papers should now
                            list the following COMPLETE case number: CV 10-8056-PCT-FJM. This is a TEXT
                            ENTRY ONLY. There is no PDF document associated with this entry. (MAP) (Entered:
                            04/15/2010)
         04/16/2010      10 Mail Returned as Undeliverable. Mail sent to Michael J Brosnahan. Reason for return:
                            Return to Sender, Insufficient Address, Unable to Forward. Document number 7.
                            (MHA) (Entered: 04/19/2010)
         04/19/2010      11 MOTION to Dismiss Case by BAC Home Loans Servicing, LP, Bank of America,
                            MERS, Recontrust Company. (Iannelli, Gregory) (Entered: 04/19/2010)
         04/29/2010      12 MOTION to Quash all Defendant's Motions, Pleadings, Etc., and MOTION for
                            Summary Judgment by Michael J Brosnahan. (ESL) (Entered: 04/30/2010)
         05/10/2010      13 ORDER - Scheduling Conference set for 7/9/2010 at 2:30 PM in Courtroom 506, 401
                            West Washington Street, Phoenix, AZ 85003 before Judge Frederick J Martone. The
                            parties shall submit their joint proposed case management plan not less than 5 days
                            before the conference. Signed by Judge Frederick J Martone on 5/7/2010. (KAR)
                            (Entered: 05/10/2010)
         05/10/2010      14 RESPONSE in Opposition re 12 MOTION to Quash all Defendant's Motions,
                            Pleadings, Etc. MOTION for Summary Judgment and Reply in Support of Motion to
                            Dismiss filed by BAC Home Loans Servicing, LP, Bank of America, MERS, Recontrust
                            Company. (Iannelli, Gregory) (Entered: 05/10/2010)



3 of 5                                                                                                             2/8/2017 9:55 AM
CM/ECF - azd                                                    https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?805123632014122-L_1_0-1
                      Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 57 of 148

         05/18/2010      15 Mail Returned as Undeliverable. Mail sent to Michael Brosnahan. Reason for return:
                            Returned for Postage/Received Unsealed at Phoenix, AZ 850. Document number 13.
                            (CAD) (Entered: 05/18/2010)
         05/21/2010      16 MOTION for Sanctions against Defendant(s) and Defendant(s)'s Attorney(s) and
                            Firm(s) Pursuant to F.R.C.P. Rule 11c by Michael J Brosnahan. (SAT) (Entered:
                            05/24/2010)
         05/21/2010      17 AFFIDAVIT of Michael J Brosnahan by Plaintiff Michael J Brosnahan. (SAT) (Entered:
                            05/24/2010)
         06/07/2010      18 RESPONSE in Opposition re 16 MOTION for Sanctions against Defendants and
                            Defendants's Attorney's and Firms filed by BAC Home Loans Servicing, LP, Bank of
                            America, MERS, Recontrust Company. (Iannelli, Gregory) (Entered: 06/07/2010)
         06/07/2010      19 NOTICE of Appearance by Gregory Bryan Iannelli on behalf of BAC Home Loans
                            Servicing, LP, Bank of America, MERS, Recontrust Company (Iannelli, Gregory)
                            (Entered: 06/07/2010)
         06/15/2010      20 MOTION for Default Judgment as to Defendants by Michael J Brosnahan. (TLJ)
                            (Entered: 06/16/2010)
         06/30/2010      21 ORDER granting 11 Defendants' Motion to Dismiss Case; denying 12 Plaintiff's
                            Motion to Quash; denying 16 Plaintiff's Motion for Sanctions; and denying 20
                            Plaintiff's Motion for Default Judgment. Rule 16 Conference set for 7/9/2010 is
                            VACATED. Signed by Judge Frederick J Martone on 6/30/10.(LSP) (Entered:
                            06/30/2010)
         06/30/2010      22 CLERK'S JUDGMENT it is ordered and adjudged that pursuant to the Court's order
                            filed June 30, 2010, judgment is entered in favor of defendant and against plaintiff.
                            Plaintiff to take nothing, and complaint and action are dismissed. (LSP) (Entered:
                            06/30/2010)
         07/15/2010      23 MOTION to Vacate judgment by Michael J Brosnahan. (DMT) (Entered: 07/16/2010)
         08/02/2010      24 RESPONSE in Opposition re 23 MOTION to Vacate re judgment filed by BAC Home
                            Loans Servicing LP, Bank of America, MERS, Recontrust Company. (Iannelli,
                            Gregory) (Entered: 08/02/2010)
         08/06/2010      25 MOTION to Compel Defendants' Attorneys to Submit an Affidavit to this court stating
                            whether or not they are representing the holder in due course and the creditor in this
                            matter by Michael J Brosnahan. (SAT) (Entered: 08/09/2010)
         08/13/2010      26 REPLY to Response to Motion re 23 MOTION to Vacate re judgment filed by Michael
                            J Brosnahan. (TLJ) (Entered: 08/16/2010)
         08/20/2010      28 MOTION for Stay of Non-Judicial Proceedings by Michael J Brosnahan. (LAD)
                            (Entered: 08/23/2010)
         08/23/2010      27 RESPONSE in Opposition re 25 MOTION to Compel Defendants' Attorneys to Submit
                            an Affidavit Opposition to Plaintiff's Motion to Compel filed by BAC Home Loans
                            Servicing LP, MERS, Recontrust Company. (Iannelli, Gregory) (Entered: 08/23/2010)




4 of 5                                                                                                              2/8/2017 9:55 AM
CM/ECF - azd                                                      https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?805123632014122-L_1_0-1
                      Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 58 of 148

         08/27/2010      29 ORDER denying 23 Motion to Vacate; denying 25 Motion to Compel; denying 28
                            Motion for Stay of Non-Judicial Proceedings. We again encourage plaintiff to seek the
                            advice of counsel. If he cannot find a lawyer,he may wish to contact the Lawyer
                            Referral Service of the Maricopa County Bar Association at (602) 257-4434. Plaintiff is
                            advised that any further challenge to this courts order should be directed to the United
                            States Court of Appeals for the Ninth Circuit. See Fed. R. App. P. 3, 4. Signed by Judge
                            Frederick J Martone on 8/26/10.(LAD) (Entered: 08/27/2010)
         09/21/2010      30 MOTION for Recusal of Judge Martone by Michael J Brosnahan. (DMT) (Entered:
                            09/22/2010)
         09/23/2010      31 ORDER denying on grounds of mootness the 30 Motion for Recusal. (See document
                            for full details). Signed by Judge Frederick J Martone on 9/23/10.(LAD) (Entered:
                            09/23/2010)



                                                   PACER Service Center
                                                      Transaction Receipt
                                                        02/08/2017 09:55:07
                                PACER
                                               Bb0049phx:2510231:0 Client Code:   070329.0430
                                Login:
                                                                    Search        3:10-cv-
                                Description:   Docket Report
                                                                    Criteria:     08056-FJM
                                Billable
                                               4                    Cost:         0.40
                                Pages:




5 of 5                                                                                                                2/8/2017 9:55 AM
Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 59 of 148




         Exhibit 18
     Case
       Case
          3:16-cv-08277-DLR
             3:10-cv-08056-FJMDocument
                                Document
                                       14-4
                                         21 Filed
                                             Filed02/09/17
                                                   06/30/10 Page
                                                             Page60
                                                                  1 of
                                                                    of 3148



 1   WO
 2
 3
 4
 5                                   NOT FOR PUBLICATON
 6                            IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Michael J. Brosnahan,                        )   No. CV-10-8056-PCT-FJM
                                                  )
10               Plaintiff,                       )   ORDER
                                                  )
11   vs.                                          )
                                                  )
12                                                )
     Bank of America, et al.,                     )
13                                                )
                 Defendants.                      )
14                                                )
                                                  )
15
16
17          The court has before it defendants’ motion to dismiss (doc. 11), plaintiff’s response
18   and “Motion to Quash All Defendants’ Motions” (doc. 12), defendants’ response in
19   opposition to motion to quash and reply in support of motion to dismiss (doc. 14). We also
20   have plaintiff’s motion for sanctions (doc. 16), defendants’ response (doc. 18), and plaintiff’s
21   motion for default judgment (doc. 20).
22          Plaintiff’s 47-page pro se complaint is a rambling narrative of various allegations
23   against defendants and challenges to the enforceability of his deed of trust. Among other
24   things, plaintiff seeks an order of injunction, but there is no indication what plaintiff hopes
25   to have enjoined. There are references to an undefined, non-judicial foreclosure proceeding,
26   but we can only speculate as to whether or when such a proceeding is scheduled to occur.
27   Notwithstanding the challenges presented in deciphering plaintiff’s largely incomprehensible
28   claims, three allegations are discernible.
     Case
       Case
          3:16-cv-08277-DLR
             3:10-cv-08056-FJMDocument
                                Document
                                       14-4
                                         21 Filed
                                             Filed02/09/17
                                                   06/30/10 Page
                                                             Page61
                                                                  2 of
                                                                    of 3148



 1          Plaintiff claims that defendants are not the “creditors,” “assignee of the creditor,” or
 2   “real party in interest” because they have not produced the original promissory note, and are
 3   therefore without authority to conduct a non-judicial foreclosure. However, courts have
 4   consistently rejected this “show me the note” argument to avoid a non-judicial foreclosure.
 5   See Mansour v. Cal-Western Reconveyance Corp., 618 F. Supp. 2d 1178, 1181 (D. Ariz.
 6   2009) and cases cited therein. Arizona’s non-judicial foreclosure statute does not require
 7   presentation of the original note to proceed with non-judicial foreclosure. See A.R.S. §§ 33-
 8   801-821. Therefore, plaintiff’s argument is without merit.
 9          Plaintiff also asserts that his deed of trust is akin to a “confession of judgment” or a
10   “cognovit note” and challenges it on due process grounds. A claim of deprivation of due
11   process under 42 U.S.C. § 1983, however, is valid only if the alleged deprivation was
12   committed “under color of state law.” Plaintiff has sued only private parties who do not
13   appear to have been connected to any government entity acting “under color of state law.”
14   Therefore, plaintiff’s due process claim is without merit.
15          Finally, plaintiff alleges that he was not aware of the power of sale clause in his deed
16   of trust when he executed the document, and that the deed was an unconscionable contract
17   of adhesion.      Arizona recognizes two types of unconscionability.               Procedural
18   unconscionability “is concerned with ‘unfair surprise,’ fine print clauses, mistakes or
19   ignorance of important facts or other things that mean bargaining did not proceed as it
20   should.” Maxwell v. Fidelity Fin. Servs., Inc., 184 Ariz. 82, 88-89, 907 P.2d 51, 57-58
21   (1995). Substantive unconscionability “concerns the actual terms of the contract and
22   examines the relative fairness of the obligations assumed.” Id. at 89, 907 P.2d at 58.
23   Plaintiff has not plead facts to show that his deed of trust is unconscionable. His only
24   argument is that the deed was a standard form that he was required to sign and that he did not
25   understand the terms. To survive a motion to dismiss, “a complaint must contain sufficient
26   factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
27   Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting Bell Atl. Corp. v. Twombly, 550
28   U.S. 544, 570, 127 S. Ct. 1955, 1974 (2007)). Plaintiff’s complaint does not satisfy this test.

                                                  -2-
     Case
       Case
          3:16-cv-08277-DLR
             3:10-cv-08056-FJMDocument
                                Document
                                       14-4
                                         21 Filed
                                             Filed02/09/17
                                                   06/30/10 Page
                                                             Page62
                                                                  3 of
                                                                    of 3148



 1          Because we conclude that the complaint does not adequately assert a cognizable
 2   claim, we grant defendants’ motion to dismiss (doc. 11).
 3          Rather than respond to the legal arguments raised in favor of defendants’ motion to
 4   dismiss, plaintiff filed a motion to quash (doc. 12), a motion for sanctions (doc. 16), and a
 5   motion for default judgment (doc. 20), arguing that defendants and their counsel have failed
 6   to appear. According to plaintiff, there was no separate “notice of appearance” filed by
 7   defendants’ lawyers and therefore they have not appeared as required by Rule 5.1, Fed. R.
 8   Civ. P. This is incorrect. Defendants’ counsel have properly appeared by filing their
 9   removal notice in this court. No additional, separate notice is required by either the federal
10   or local rules. Plaintiff’s motions are without merit.
11          Accordingly IT IS ORDERED GRANTING defendants’ motion to dismiss (doc.
12   11).
13          IT IS FURTHER ORDERED DENYING plaintiff’s motion to quash (doc. 12),
14   DENYING plaintiff’s motion for sanctions (doc. 16), and DENYING plaintiff’s motion for
15   default judgment (doc. 20).
16          IT IS FURTHER ORDERED VACATING the Rule 16 conference set for July 9,
17   2010 on grounds of mootness.
18          It is difficult for a party to successfully manage the complexities of a lawsuit unaided
19   by a lawyer. We urge plaintiff to seek the advice of counsel. If he does not have one, he
20   may wish to contact the Lawyer Referral Service of the Maricopa County Bar Association
21   at 602-257-4434.
22          DATED this 30th day of June, 2010.
23
24
25
26
27
28

                                                  -3-
Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 63 of 148




         Exhibit 19
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   23 Filed 02/09/17
                                            07/15/10 Page 64
                                                          1 ofof36
                                                                 148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   23 Filed 02/09/17
                                            07/15/10 Page 65
                                                          2 ofof36
                                                                 148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   23 Filed 02/09/17
                                            07/15/10 Page 66
                                                          3 ofof36
                                                                 148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   23 Filed 02/09/17
                                            07/15/10 Page 67
                                                          4 ofof36
                                                                 148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   23 Filed 02/09/17
                                            07/15/10 Page 68
                                                          5 ofof36
                                                                 148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   23 Filed 02/09/17
                                            07/15/10 Page 69
                                                          6 ofof36
                                                                 148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   23 Filed 02/09/17
                                            07/15/10 Page 70
                                                          7 ofof36
                                                                 148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   23 Filed 02/09/17
                                            07/15/10 Page 71
                                                          8 ofof36
                                                                 148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   23 Filed 02/09/17
                                            07/15/10 Page 72
                                                          9 ofof36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 10
                                                           73 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 11
                                                           74 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 12
                                                           75 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 13
                                                           76 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 14
                                                           77 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 15
                                                           78 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 16
                                                           79 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 17
                                                           80 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 18
                                                           81 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 19
                                                           82 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 20
                                                           83 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 21
                                                           84 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 22
                                                           85 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 23
                                                           86 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 24
                                                           87 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 25
                                                           88 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 26
                                                           89 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 27
                                                           90 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 28
                                                           91 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 29
                                                           92 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 30
                                                           93 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 31
                                                           94 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 32
                                                           95 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 33
                                                           96 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 34
                                                           97 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 35
                                                           98 of
                                                              of 36
                                                                 148
Case
 Case3:16-cv-08277-DLR
       3:10-cv-08056-FJM Document
                          Document14-4
                                   23 Filed
                                       Filed 07/15/10
                                             02/09/17 Page
                                                      Page 36
                                                           99 of
                                                              of 36
                                                                 148
Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 100 of 148




          Exhibit 20
Case
   Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJM
                        Document
                           Document
                                 14-425 Filed
                                         Filed02/09/17
                                               08/06/10 Page
                                                         Page101
                                                              1 ofof5148
Case
   Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJM
                        Document
                           Document
                                 14-425 Filed
                                         Filed02/09/17
                                               08/06/10 Page
                                                         Page102
                                                              2 ofof5148
Case
   Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJM
                        Document
                           Document
                                 14-425 Filed
                                         Filed02/09/17
                                               08/06/10 Page
                                                         Page103
                                                              3 ofof5148
Case
   Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJM
                        Document
                           Document
                                 14-425 Filed
                                         Filed02/09/17
                                               08/06/10 Page
                                                         Page104
                                                              4 ofof5148
Case
   Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJM
                        Document
                           Document
                                 14-425 Filed
                                         Filed02/09/17
                                               08/06/10 Page
                                                         Page105
                                                              5 ofof5148
Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 106 of 148




               Exhibit 21
Case
   Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJM
                        Document
                           Document
                                 14-428 Filed
                                         Filed02/09/17
                                               08/20/10 Page
                                                         Page107
                                                              1 ofof5148
Case
   Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJM
                        Document
                           Document
                                 14-428 Filed
                                         Filed02/09/17
                                               08/20/10 Page
                                                         Page108
                                                              2 ofof5148
Case
   Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJM
                        Document
                           Document
                                 14-428 Filed
                                         Filed02/09/17
                                               08/20/10 Page
                                                         Page109
                                                              3 ofof5148
Case
   Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJM
                        Document
                           Document
                                 14-428 Filed
                                         Filed02/09/17
                                               08/20/10 Page
                                                         Page110
                                                              4 ofof5148
Case
   Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJM
                        Document
                           Document
                                 14-428 Filed
                                         Filed02/09/17
                                               08/20/10 Page
                                                         Page111
                                                              5 ofof5148
Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 112 of 148




               Exhibit 22
     Case
        Case
          3:16-cv-08277-DLR
             3:10-cv-08056-FJM
                             Document
                                Document
                                      14-429 Filed
                                              Filed02/09/17
                                                    08/27/10 Page
                                                              Page113
                                                                   1 ofof2148



 1    WO
 2
 3
 4
 5                                   NOT FOR PUBLICATION
 6                            IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9    Michael J. Brosnahan,                      )   No. CV-10-8056-PCT-FJM
                                                 )
10               Plaintiff,                      )   ORDER
                                                 )
11    vs.                                        )
                                                 )
12                                               )
      Bank of America, et al.,                   )
13                                               )
                 Defendants.                     )
14                                               )
                                                 )
15
16           The court has before it plaintiff’s motion to vacate judgment pursuant to Rule 60, Fed.
17    R. Civ. P. (doc. 23), defendants’ response (doc. 24), plaintiff’s reply (doc. 26); plaintiff’s
18    motion to compel defendants’ attorneys to submit an affidavit (doc. 25) and plaintiff’s motion
19    for stay of non-judicial proceedings (doc. 28).
20           Plaintiff asks us to vacate our order entered on June 30, 2010, in which we concluded
21    that plaintiff had failed to state a cognizable claim and accordingly granted defendants’
22    motion to dismiss (doc. 21).
23           A motion for relief from judgment under Rule 60, Fed. R. Civ. P., requires a showing
24    that the judgment sought to be vacated was entered through mistake or excusable neglect,
25    that newly discovered evidence exists, that the judgment was obtained by fraud or is
26    otherwise void, or that some other reason exists to vacate the judgment. Fed. R. Civ. P.
27    60(b). Plaintiff has failed to make the requisite showing. Instead, he largely repeats
28    arguments made in his response to the motion to dismiss, and levels charges about
     Case
        Case
          3:16-cv-08277-DLR
             3:10-cv-08056-FJM
                             Document
                                Document
                                      14-429 Filed
                                              Filed02/09/17
                                                    08/27/10 Page
                                                              Page114
                                                                   2 ofof2148



 1    defendants’ “criminal” and “terrorist” conduct.
 2            We have fully considered each of plaintiff’s claims and will not revisit them now.
 3    IT IS ORDERED DENYING plaintiff’s motion to vacate (doc. 23), and DENYING
 4    plaintiff’s motion to compel defendants’ attorneys to submit an affidavit (doc. 25). Because
 5    this case is closed we also DENY plaintiff’s motion for stay of non-judicial proceedings
 6    (doc. 28).
 7            We again encourage plaintiff to seek the advice of counsel. If he cannot find a lawyer,
 8    he may wish to contact the Lawyer Referral Service of the Maricopa County Bar Association
 9    at (602) 257-4434. Plaintiff is advised that any further challenge to this court’s order should
10    be directed to the United States Court of Appeals for the Ninth Circuit. See Fed. R. App. P.
11    3, 4.
12            DATED this 26th day of August, 2010.
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                   -2-
Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 115 of 148




               Exhibit 23
Case
  Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJMDocument
                           Document
                                  14-4
                                    30 Filed
                                        Filed02/09/17
                                              09/21/10 Page
                                                        Page116
                                                             1 ofof21148
Case
  Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJMDocument
                           Document
                                  14-4
                                    30 Filed
                                        Filed02/09/17
                                              09/21/10 Page
                                                        Page117
                                                             2 ofof21148
Case
  Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJMDocument
                           Document
                                  14-4
                                    30 Filed
                                        Filed02/09/17
                                              09/21/10 Page
                                                        Page118
                                                             3 ofof21148
Case
  Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJMDocument
                           Document
                                  14-4
                                    30 Filed
                                        Filed02/09/17
                                              09/21/10 Page
                                                        Page119
                                                             4 ofof21148
Case
  Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJMDocument
                           Document
                                  14-4
                                    30 Filed
                                        Filed02/09/17
                                              09/21/10 Page
                                                        Page120
                                                             5 ofof21148
Case
  Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJMDocument
                           Document
                                  14-4
                                    30 Filed
                                        Filed02/09/17
                                              09/21/10 Page
                                                        Page121
                                                             6 ofof21148
Case
  Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJMDocument
                           Document
                                  14-4
                                    30 Filed
                                        Filed02/09/17
                                              09/21/10 Page
                                                        Page122
                                                             7 ofof21148
Case
  Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJMDocument
                           Document
                                  14-4
                                    30 Filed
                                        Filed02/09/17
                                              09/21/10 Page
                                                        Page123
                                                             8 ofof21148
Case
  Case
     3:16-cv-08277-DLR
        3:10-cv-08056-FJMDocument
                           Document
                                  14-4
                                    30 Filed
                                        Filed02/09/17
                                              09/21/10 Page
                                                        Page124
                                                             9 ofof21148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   30 Filed 02/09/17
                                            09/21/10 Page 125
                                                          10 ofof21
                                                                  148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   30 Filed 02/09/17
                                            09/21/10 Page 126
                                                          11 ofof21
                                                                  148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   30 Filed 02/09/17
                                            09/21/10 Page 127
                                                          12 ofof21
                                                                  148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   30 Filed 02/09/17
                                            09/21/10 Page 128
                                                          13 ofof21
                                                                  148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   30 Filed 02/09/17
                                            09/21/10 Page 129
                                                          14 ofof21
                                                                  148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   30 Filed 02/09/17
                                            09/21/10 Page 130
                                                          15 ofof21
                                                                  148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   30 Filed 02/09/17
                                            09/21/10 Page 131
                                                          16 ofof21
                                                                  148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   30 Filed 02/09/17
                                            09/21/10 Page 132
                                                          17 ofof21
                                                                  148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   30 Filed 02/09/17
                                            09/21/10 Page 133
                                                          18 ofof21
                                                                  148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   30 Filed 02/09/17
                                            09/21/10 Page 134
                                                          19 ofof21
                                                                  148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   30 Filed 02/09/17
                                            09/21/10 Page 135
                                                          20 ofof21
                                                                  148
Case
  Case
     3:16-cv-08277-DLR
       3:10-cv-08056-FJMDocument
                         Document14-4
                                   30 Filed 02/09/17
                                            09/21/10 Page 136
                                                          21 ofof21
                                                                  148
Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 137 of 148




          Exhibit 24
     Case
        Case
          3:16-cv-08277-DLR
             3:10-cv-08056-FJM
                             Document
                                Document
                                      14-431 Filed
                                              Filed02/09/17
                                                    09/23/10 Page
                                                              Page138
                                                                   1 ofof2148



 1
 2
 3
 4
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9    Michael J. Brosnahan,                       )   No. CV 10-8056-PCT-FJM
                                                  )
10               Plaintiff,                       )   ORDER
                                                  )
11    vs.                                         )
                                                  )
12                                                )
      Bank of America et al,                      )
13                                                )
                 Defendant.                       )
14                                                )
                                                  )
15
16
17           The court has before it plaintiff's "Motion to Recuse" (doc. 30). However, a review
18    of the docket indicates that final judgment entered on June 30, 2010, and post judgment
19    motions have been denied. Our last order, dated August 26, 2010 (doc. 29), advised plaintiff
20    that further action in this case belongs in the Court of Appeals. There is nothing further to be
21    done here. Accordingly, plaintiff's Motion to Recuse is untimely under the relevant statutes.
22    It is therefore ORDERED DENYING the Motion to Recuse on grounds of mootness (doc.
23    30).
24           We note that plaintiff challenges the court's understanding of, and resolution of, a legal
25    issue. The proper vehicle for that challenge is an appeal in the United States Court of
26    Appeals, not a post judgment motion to recuse in the trial court. Thus, even if the Motion to
27    Recuse were not moot, it would necessarily have been denied.
28    ///
     Case
        Case
          3:16-cv-08277-DLR
             3:10-cv-08056-FJM
                             Document
                                Document
                                      14-431 Filed
                                              Filed02/09/17
                                                    09/23/10 Page
                                                              Page139
                                                                   2 ofof2148



 1          We again urge plaintiff to seek the advice of counsel so that he can seek further
 2    judicial review in the proper way.
 3          DATED this 23rd day of September, 2010.
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               -2-
Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 140 of 148




          Exhibit 25
CM/ECF - azd                                                https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?142873523730415-L_1_0-1
                     Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 141 of 148
                                                                                                        CLOSED,STD

                                           U.S. District Court
                                 DISTRICT OF ARIZONA (Prescott Division)
                               CIVIL DOCKET FOR CASE #: 3:09-cv-08224-JAT


         Brosnahan v. JPMorgan Chase Bank et al                        Date Filed: 12/14/2009
         Assigned to: Judge James A Teilborg                           Date Terminated: 10/25/2010
         Related Case: 3:16-cv-08277-DLR                               Jury Demand: Plaintiff
         Case in other court: Ninth Circuit, 10-17954                  Nature of Suit: 290 Real Property: Other
         Cause: 28:2201 Declaratory Judgment                           Jurisdiction: Federal Question

         Plaintiff
         Michael J Brosnahan                            represented by Michael J Brosnahan
                                                                       22 Hummingbird Cir.
                                                                       Sedona, AZ 86336
                                                                       928-300-6030
                                                                       PRO SE


         V.
         Defendant
         JPMorgan Chase Bank                            represented by Daniel D Maynard
         formerly known as                                             Maynard Cronin Erickson Curran & Reiter
         Washington Mutual Bank                                        PLC
                                                                       3200 N Central Ave., Ste. 1800
                                                                       Phoenix, AZ 85012-2443
                                                                       602-279-8500
                                                                       Fax: 602-263-8185
                                                                       Email: stanner@mmcec.com
                                                                       ATTORNEY TO BE NOTICED

                                                                       Douglas Cameron Erickson
                                                                       Maynard Cronin Erickson Curran & Reiter
                                                                       PLC
                                                                       3200 N Central Ave., Ste. 1800
                                                                       Phoenix, AZ 85012-2443
                                                                       602-279-8500
                                                                       Fax: 602-263-8185
                                                                       Email: derickson@mmcec.com
                                                                       ATTORNEY TO BE NOTICED

         Defendant
         California Reconveyance Company                represented by Daniel D Maynard
                                                                       (See above for address)


1 of 8                                                                                                         2/8/2017 11:25 AM
CM/ECF - azd                                                   https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?142873523730415-L_1_0-1
                      Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 142 of 148

                                                                          ATTORNEY TO BE NOTICED

                                                                          Douglas Cameron Erickson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED


         Date Filed       #   Docket Text
         12/14/2009       1 COMPLAINT. Filing fee received: $ 350.00, receipt number PHX091636, filed by
                            Michael J Brosnahan.(AMB) (Entered: 12/15/2009)
         12/14/2009       2 This case has been assigned to the Honorable James A. Teilborg. All future pleadings or
                            documents should bear the correct case number: CV-09-8224-PCT-JAT. This is a TEXT
                            ENTRY ONLY. There is no PDF document associated with this entry. (AMB) (Entered:
                            12/15/2009)
         12/14/2009       3 Notice re Magistrate Judge consent form. (AMB) INCORRECT PDF DOCUMENT
                            ATTACHED. THIS ENTRY HAS BEEN MODIFIED TO ATTACH THE CORRECT
                            DOCUMENT. (ESL). (Entered: 12/15/2009)
         12/14/2009       5 AFFIDAVIT of Michael J Brosnahan in Support of 1 Complaint for Declaratory and
                            Injunctive Relief to Void Power of Sale by Plaintiff Michael J Brosnahan. (SAT)
                            (Entered: 12/15/2009)
         12/15/2009       4 STANDARD TRACK ORDER. Signed by Judge James A Teilborg on 12/15/09. (Copy
                            mailed to pro se plaintiff Michael J. Brosnahan on 12/15/09 by T. Bengtson) (TLB, )
                            (Entered: 12/15/2009)
         12/16/2009       6 NOTICE OF CORRECTION BY THE CLERK re 3 Notice re Magistrate Judge
                            Consent form. Description of deficiency: Incorrect pdf document attached. Follow up
                            by Clerks Office: Incorrect pdf document added to entry #3. The correct document is
                            also attached to this entry for viewing. Court use only: AMB. (ESL) (Entered:
                            12/16/2009)
         12/17/2009           Summons Issued as to California Reconveyance Company, JPMorgan Chase Bank.
                              SUMMONS ISSUED AND MAILED TO PLAINTIFF. NO PDF ATTACHED. (MHA)
                              (Entered: 12/17/2009)
         12/18/2009       7 ORDER (TEXT-ONLY) - The Court notes that in the verified complaint, Plaintiff seeks
                            "Emergency Declaratory and Injunctive Relief, to Void Power of Sale" and other types
                            of injunctive relief. The Court does not see in this record that a motion for Temporary
                            Restraining Order or a Motion for Preliminary Injunction (see Federal Rule of Civil
                            Procedure 65) is pending. Therefore, IT IS ORDERED that the Court will take no
                            action on this request until a motion seeking immediate injunctive relief is filed.
                            Entered by Judge James A Teilborg on 12/18/09. (Copy mailed to pro se plaintiff M.
                            Brosnahan on 12/18/09 by T. Bengtson). This is a TEXT ENTRY ONLY. There is no
                            PDF document associated with this entry. (TLB, ) (Entered: 12/18/2009)
         12/24/2009       8 MOTION for Preliminary Injunction by Michael J Brosnahan. (TLJ) (Entered:
                            12/28/2009)



2 of 8                                                                                                            2/8/2017 11:25 AM
CM/ECF - azd                                                    https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?142873523730415-L_1_0-1
                      Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 143 of 148

         12/29/2009       9 SUMMONS Returned Executed by Michael J Brosnahan. JPMorgan Chase Bank
                            served on 12/21/2009. (TLJ) (Entered: 12/30/2009)
         12/29/2009      10 SUMMONS Returned Executed by Michael J Brosnahan. California Reconveyance
                            Company served on 12/21/2009. (TLJ) (Entered: 12/30/2009)
         01/15/2010      11 MOTION to Dismiss Case and Response in Opposition to Injunctive Relief by
                            California Reconveyance Company, JPMorgan Chase Bank. (Attachments: # 1 Exhibit)
                            (Erickson, Douglas) (Entered: 01/15/2010)
         01/19/2010      12 Corporate Disclosure Statement by California Reconveyance Company. (Erickson,
                            Douglas) (Entered: 01/19/2010)
         01/19/2010      13 Corporate Disclosure Statement by JPMorgan Chase Bank. (Erickson, Douglas)
                            (Entered: 01/19/2010)
         02/01/2010      14 Notice of service (affidavit of mailing) of documents by Michael J Brosnahan (DMT)
                            (Entered: 02/02/2010)
         02/02/2010      15 AFFIDAVIT of Michael Brosnahan of non receipt of notice for re 11 MOTION to
                            Dismiss Case and Response in Opposition to Injunctive Relief by Plaintiff Michael J
                            Brosnahan. (DMT) (Entered: 02/05/2010)
         02/17/2010      16 MOTION to Quash All Defendant's Motions, Pleadings, Etc. and MOTION for
                            Summary Judgment for Defendant's and Defendant's Attorneys Failure to Appear by
                            Michael J Brosnahan. (DTN) (Entered: 02/18/2010)
         03/08/2010      17 RESPONSE in Opposition re 16 MOTION to Quash All Defendant's Motions,
                            Pleadings, Etc. MOTION for Summary Judgment filed by California Reconveyance
                            Company, JPMorgan Chase Bank. (Attachments: # 1 Exhibit)(Erickson, Douglas)
                            (Entered: 03/08/2010)
         03/17/2010      18 ORDER (TEXT-ONLY) - IT IS ORDERED setting motion hearing on Plaintiff's
                            motion for preliminary injunction (Doc. #8) and Defendants' motion to dismiss (Doc.
                            #11) for Monday, May 24, 2010 at 10:00 a.m. before Judge James A. Teilborg, in
                            PHOENIX, ARIZONA (401 W. Washington St., Courtroom 503, Phoenix, AZ). IT IS
                            FURTHER ORDERED that Plaintiff shall come to the hearing prepared to present any
                            evidence he wishes to present in support of his motion for preliminary injunction. IT IS
                            FURTHER ORDERED that the parties shall prepare and bring to oral argument a table
                            of authorities in alphabetical order listing on the authorities on which they will rely at
                            oral argument. Entered by Judge James A Teilborg on 3/17/2010. (Copy mailed to pro
                            se plaintiff M. Brosnahan on 3/17/2010 by T. Bengtson). This is a TEXT ENTRY
                            ONLY. There is no PDF document associated with this entry. (TLB) (Entered:
                            03/17/2010)
         03/25/2010      19 MOTION to Sanction Defendant(s) and Defendant(s)'s Attorney(s) and Firm(s)
                            Pursuant to F.R.C.P. Rule 11c by Michael J Brosnahan. (SAT) (Entered: 03/26/2010)
         03/25/2010      20 AFFIDAVIT of Mailing Receipt for Notice: 19 MOTION to Sanction Defendant(s) and
                            Defendant(s)'s Attorney(s) and Firm(s) Pursuant to F.R.C.P. Rule 11c by Plaintiff
                            Michael J Brosnahan. (SAT) (Entered: 03/26/2010)




3 of 8                                                                                                             2/8/2017 11:25 AM
CM/ECF - azd                                                   https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?142873523730415-L_1_0-1
                      Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 144 of 148

         03/30/2010      21 AFFIDAVIT of mailing of Michael Brosnahan re Affidavit of Mailing; Affidavit of
                            Mailing Receipt for Notice:Motion for Sanction and 19 MOTION for Sanctions against
                            Defendant(s) and Defendant(s)'s Attorney(s) and Firm(s) Pursuant to F.R.C.P. Rule 11c
                            by Plaintiff Michael J Brosnahan. (DMT) (Entered: 03/31/2010)
         04/12/2010      22 RESPONSE in Opposition re 19 MOTION for Sanctions against Defendant(s) and
                            Defendant(s)'s Attorney(s) and Firm(s) Pursuant to F.R.C.P. Rule 11c filed by
                            California Reconveyance Company, JPMorgan Chase Bank. (Erickson, Douglas)
                            (Entered: 04/12/2010)
         05/20/2010      23 MOTION (Application) for an Emergency Temporary Restraining Order to Stay the
                            Sale of Real Property, MOTION to Compel this Court and Defendants to Adhere to
                            Arizona Revised Statutes Pursuant to Eerie Doctrine by Michael J Brosnahan. (SAT)
                            (Entered: 05/20/2010)
         05/20/2010      25 AFFIDAVIT of Plaintiff Michael J Brosnahan. (SAT) (Entered: 05/21/2010)
         05/21/2010      24 ORDER (TEXT-ONLY) - IT IS ORDERED setting oral argument on 23 Plaintiff's
                            Motion/Application for Temporary Restraining Order, Stay Sale of Real Property,
                            Motion to Compel this Court and Defendants to Adhere to Arizona Revised Statutes
                            Pursuant to Eerie Doctrine for Monday, 5/24/2010 at 10:00 AM in Courtroom 503, 401
                            West Washington Street, Phoenix, AZ 85003 before Judge James A Teilborg. Entered
                            by Judge James A Teilborg on 5/21/2010. (copy mailed to pro se plaintiff and notice by
                            telephone on 5/21/2010 by T. Bengtson). This is a TEXT ENTRY ONLY. There is no
                            PDF document associated with this entry. (TLB) (Entered: 05/21/2010)
         05/24/2010      26 Minute Entry - Proceedings held before Judge James A Teilborg on 5/24/2010. Motion
                            hearing held. Oral argument re: 8 Motion for Preliminary Injunction, 11 Motion to
                            Dismiss Case, 16 Motion to Quash all Defendant's Motions, Pleadings and Motion for
                            Summary Judgment, 19 Motion for Sanctions and 23 Motion for TRO/Motion to
                            Compel. ORDERED taking the above motions under advisement. Any oral motions
                            made at the hearing are denied. (Copy mailed to pro se plaintiff M. Brosnahan on
                            5/24/2010 by T. Bengtson).(Court Reporter David German.)(TLB) (Entered:
                            05/24/2010)
         05/24/2010      31 Minute Entry (Amended) - of proceedings held before Judge James A Teilborg on
                            5/24/2010 - Amending the Motion Hearing Minutes of 5/24/2010 to reflect appearances
                            of plaintiff and counsel in person, not telephonic. (see Order at docket #30 granting
                            motion to correct official court record.) (Copy mailed to pro se plaintiff M. Brosnahan
                            on 5/27/10 by T. Bengtson)(Court Reporter David German.)(TLB) (Entered:
                            05/27/2010)
         05/26/2010      27 ORDER granting Dfts' 11 Motion to Dismiss. Pla shall have 20 days from the date of
                            this Order to file an Amended Complaint that complies with Rule 8. If Pla does not file
                            an Amended Complaint within 20 days of the date of this Order, the Clerk of the Court
                            shall dismiss this case without further notice to Pla; denying Pla's 16 Motion to Quash
                            and 19 Motion for Sanctions; denying Pla's 8 Motion for Preliminary Injunction and 23
                            Motion for Temporary Restraining Order. Pla cannot file another Motion for a
                            Temporary Restraining Order if and until he has filed an Amended Complaint; denying
                            as moot Pla's 16 Motion for Summary Judgment. Signed by Judge James A Teilborg on



4 of 8                                                                                                            2/8/2017 11:25 AM
CM/ECF - azd                                                  https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?142873523730415-L_1_0-1
                      Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 145 of 148

                             05/26/10. (NOTE: see attached pdf for complete details) (ESL) (Entered: 05/26/2010)
         05/26/2010      28 TRANSCRIPT DESIGNATION AND ORDER FORM by Michael J Brosnahan for
                            proceedings held on 5/24/2010 before Judge James A Teilborg. (BAS) (Entered:
                            05/26/2010)
         05/26/2010      29 MOTION to Correct the Official Court Record and RESPONSE To Defendant's 11
                            MOTION to Dismiss by Michael J Brosnahan (ESL) (Entered: 05/27/2010)
         05/27/2010      30 ORDER - granting 29 Motion to Correct Official Court Record (to reflect party and
                            counsel appearances at 5/24/2010 hearing were in person, not telephonic). The
                            remainder of the minutes remain the same. Amended minutes to follow. Entered by
                            Judge James A Teilborg on 5/27/2010. (Copy mailed to pro se plaintiff M. Brosnahan
                            on 5/27/10 by T. Bengtson). This is a TEXT ENTRY ONLY. There is no PDF document
                            associated with this entry. (TLB) (Entered: 05/27/2010)
         06/03/2010      32 TRANSCRIPT of Proceedings re: Motion Hearing held on 05/24/2010 before Judge
                            James A Teilborg. Court Reporter: David C German. Transcript may be viewed at the
                            court public terminal or purchased through the Court Reporter/Transcriber before the
                            deadline for Release of Transcript Restriction. After that date it may be obtained
                            through PACER. Redaction Request due 6/24/2010. Redacted Transcript Deadline set
                            for 7/6/2010. Release of Transcript Restriction set for 9/1/2010. (BAS) (Entered:
                            06/03/2010)
         06/15/2010      33 AMENDED COMPLAINT against California Reconveyance Company, JPMorgan
                            Chase Bankand Judicial Notice filed by Michael J Brosnahan.(TLJ) (Entered:
                            06/16/2010)
         06/15/2010      34 MOTION to Compel Court and Defendants to Adhere to ERIE Doctrine by Michael J
                            Brosnahan. (same pdf as document #33) (TLJ) (Entered: 06/16/2010)
         07/01/2010      35 MOTION to Dismiss Case Dismiss Amended Complaint by California Reconveyance
                            Company, JPMorgan Chase Bank. (Erickson, Douglas) (Entered: 07/01/2010)
         07/15/2010      36 RESPONSE (styled as reply) to Motion re 35 MOTION to Dismiss Case Dismiss
                            Amended Complaint filed by Michael J Brosnahan. (DMT) (Entered: 07/16/2010)
         07/20/2010      37 REPLY in Support re 35 MOTION to Dismiss Case Dismiss Amended Complaint filed
                            by California Reconveyance Company, JPMorgan Chase Bank. (Erickson, Douglas)
                            (Entered: 07/20/2010)
         08/03/2010      38 RESPONSE to Motion re 35 MOTION to Dismiss Case Dismiss Amended Complaint
                            filed by Michael J Brosnahan. (KMG) (Entered: 08/04/2010)
         08/06/2010      39 MOTION to Compel Defendants' Attorneys to Submit an Affidavit to this Court by
                            Michael J Brosnahan. (ESL) (Entered: 08/09/2010)
         08/20/2010      40 MOTION to Stay all Non-Judicial Proceedings by Michael J Brosnahan. (ESL)
                            (Entered: 08/23/2010)
         08/23/2010      41 RESPONSE in Opposition re 39 MOTION to Compel Defendants' Attorneys to Submit
                            an Affidavit to this Court filed by California Reconveyance Company, JPMorgan Chase
                            Bank. (Erickson, Douglas) (Entered: 08/23/2010)


5 of 8                                                                                                           2/8/2017 11:25 AM
CM/ECF - azd                                                    https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?142873523730415-L_1_0-1
                      Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 146 of 148

         08/23/2010      42 RESPONSE in Opposition re 40 MOTION to Stay filed by California Reconveyance
                            Company, JPMorgan Chase Bank. (Erickson, Douglas) (Entered: 08/23/2010)
         08/23/2010      43 MOTION to Strike 38 Response to Motion by California Reconveyance Company,
                            JPMorgan Chase Bank. (Erickson, Douglas) CORRECTION: document linkage.
                            Modified on 8/24/2010 (ESL). (Entered: 08/23/2010)
         09/08/2010      44 Minute Order - ORDERED setting oral argument on the following pending motions for
                            10/14/2010 at 11:30 AM, in Courtroom 503, 401 W. Washington Street, Phoenix,
                            Arizona, before Judge James A. Teilborg: 35 Motion to Dismiss Case Dismiss Amended
                            Complaint, 34 Motion to Compel Court and Defendants to Adhere to ERIE Doctrine,
                            43 Motion to Strike Response to Motion, 39 Motion to Compel Defendants' Attorneys
                            to Submit an Affidavit to this Court and 40 Motion to Stay. To assist the court reporter,
                            parties to bring table of authorities to the hearing. (Copy mailed to pro se plaintiff M.
                            Brosnahan on 9/8/2010 by T. Bengtson).(TLB) (Entered: 09/08/2010)
         09/09/2010      45 MOTION to Continue Oral Argument by California Reconveyance Company,
                            JPMorgan Chase Bank. (Attachments: # 1 Text of Proposed Order)(Erickson, Douglas)
                            (Entered: 09/09/2010)
         09/14/2010      46 ORDER granting 45 Motion to Continue Oral Argument scheduled for 10/14/10.
                            Resetting the oral argument to October 21, 2010 at 11:30 a.m. Signed by Judge James A
                            Teilborg on 9/14/10.(DMT) (Entered: 09/14/2010)
         09/15/2010      47 NOTICE re Change of Firm Name by California Reconveyance Company, JPMorgan
                            Chase Bank. (Erickson, Douglas) (Entered: 09/15/2010)
         09/30/2010      48 MOTION to sequester the genuine original adjustable rate note until final adjudication
                            of this matter by Michael J Brosnahan. (DMT) (Entered: 10/01/2010)
         10/04/2010      49 RESPONSE in Opposition re 48 MOTION to sequester filed by California
                            Reconveyance Company, JPMorgan Chase Bank. (Erickson, Douglas) (Entered:
                            10/04/2010)
         10/15/2010      50 MOTION for More Court Time by Michael J Brosnahan. (Attachments: # 1 Exhibit 1
                            and 2 (part 1), # 2 Exhibit 2 (part 2), # 3 Exhibit 2 (part 3))(ESL) (Entered: 10/15/2010)
         10/18/2010      51 ORDER denying Plaintiff's 50 Motion for More Court Time. Signed by Judge James A
                            Teilborg on 10/18/10.(ESL) (Entered: 10/18/2010)
         10/20/2010      52 NOTICE of Consumer Complaint form and Affidavit of Cynthia J. Cantrell by Michael
                            J Brosnahan. (ESL) (Entered: 10/20/2010)
         10/21/2010      53 Minute Entry - Proceedings held before Judge James A Teilborg on 10/21/2010. Motion
                            Hearing held re 34 Motion to Compel, 35 Motion to Dismiss, 39 Motion to Compel, 40
                            Motion to Stay and 43 Motion to Strike. Oral argument. ORDERED taking the motions
                            under advisement. (Copy mailed to pro se plaintiff M. Brosnahan on 10/21/2010 by T.
                            Bengtson) (Court Reporter David German.) (Court Reporter David German.)(TLB)
                            (Entered: 10/21/2010)
         10/25/2010      54 ORDER granting with prejudice 35 Defendants' Motion to Dismiss. IT IS FURTHER
                            ORDERED denying 34 Plaintiff's Motion to Compel Court and Defendants to Adhere



6 of 8                                                                                                             2/8/2017 11:25 AM
CM/ECF - azd                                                     https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?142873523730415-L_1_0-1
                      Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 147 of 148

                             to ERIE Doctrine; denying 39 Motion to Compel Defendants' Attorneys to Submit an
                             Affidavit; denying 40 Motion for Stay of all Non-Judicial Proceedings; denying 43
                             Defendants' Motion to Strike and denying 48 Plaintiff's Motion to Sequester the
                             Genuine Original Adjustable Rate Note. Signed by Judge James A Teilborg on
                             10/25/10.(LSP) (Entered: 10/25/2010)
         10/25/2010      55 CLERK'S JUDGMENT it is ordered and adjudged that pursuant to the Court's order
                            filed October 25, 2010, judgment is entered in favor of defendants and against plaintiff.
                            Plaintiff to take nothing, and complaint and action are dismissed. (LSP) (Entered:
                            10/25/2010)
         11/05/2010      56 MOTION to Vacate: All Orders, Decisions, Rulings, and the Like for Purposeful
                            Judicial Inpropriety; Judicial Bias; and Judicial Misconduct for Pecuniary Gain and
                            MOTION to Recuse by Michael J Brosnahan. (Attachments: # 1 Exhibit B)(MAP)
                            (Entered: 11/08/2010)
         11/05/2010      57 Sealed Exhibit A (re 56 ) filed by Michael J Brosnahan. (MAP) (Entered: 11/08/2010)
         11/08/2010      58 ORDER that the Clerk of the Court shall file the 56 Motion in the public record, but
                            shall file the financial disclosures as a separate docket entry under seal. This Order shall
                            not be sealed. Signed by Judge James A Teilborg on 11/8/10. (MAP) (Entered:
                            11/08/2010)
         11/12/2010      59 MOTION to Strike 56 MOTION to Vacate MOTION for Recusal by California
                            Reconveyance Company, JPMorgan Chase Bank. (Erickson, Douglas) (Entered:
                            11/12/2010)
         11/16/2010      60 ORDER denying 56 Plaintiff's Motion to Vacate ; denying 56 Plaintiff's Motion for
                            Recusal. Signed by Judge James A Teilborg on 11/16/10.(TLJ) (Entered: 11/16/2010)
         11/29/2010      61 RESPONSE in Opposition re 59 MOTION to Strike 56 MOTION to Vacate MOTION
                            for Recusal filed by Michael J Brosnahan. (TLJ) (Entered: 11/30/2010)
         12/01/2010      62 ORDER (TEXT-ONLY) - The Court having denied Motion to Vacate on 11/16/2010
                            (Doc. 60), ORDERED terminating 59 Motion to Strike the Motion to Vacate per this
                            Order. Entered by Judge James A Teilborg on 12/1/2010. This is a TEXT ENTRY
                            ONLY. There is no PDF document associated with this entry. (TLB) (Entered:
                            12/01/2010)
         12/30/2010      63 NOTICE OF APPEAL to 9th Circuit, as to 60 Order on Motion to Vacate, Order on
                            Motion for Recusal, 62 Order on Motion to Strike by Michael J Brosnahan. (SAT)
                            (Entered: 12/30/2010)
         12/30/2010      64 MOTION to Allow Electronic Filing by a Party Appearing Without an Attorney by
                            Michael J Brosnahan. (SAT) (Entered: 12/30/2010)
         12/30/2010      65 USCA Appeal Fees received $ 455 receipt number PHX104954 re 63 Notice of Appeal
                            filed by Michael J Brosnahan (SAT) (Entered: 12/30/2010)
         01/03/2011      66 Ninth Circuit Case Number 10-17954 for 63 Notice of Appeal. (KMG) (Entered:
                            01/03/2011)




7 of 8                                                                                                              2/8/2017 11:25 AM
CM/ECF - azd                                                      https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?142873523730415-L_1_0-1
                      Case 3:16-cv-08277-DLR Document 14-4 Filed 02/09/17 Page 148 of 148

         01/11/2011      67 TRANSCRIPT REQUEST by Michael J Brosnahan for proceedings held on
                            10/21/2010 before Judge James A Teilborg, (BAS) (Entered: 01/19/2011)
         01/19/2011      68 NOTICE OF FILING OF OFFICIAL TRANSCRIPT for Motion Hearing on
                            10/21/2010, before Judge James A Teilborg, re 63 Notice of Appeal Court Reporter
                            David C German. Transcript may be viewed at the court public terminal or purchased
                            through the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            2/9/2011. Redacted Transcript Deadline set for 2/22/2011. Release of Transcript
                            Restriction set for 4/19/2011. (BAS) (Entered: 01/19/2011)
         01/19/2011      69 CERTIFICATE OF RECORD TRANSMITTED TO 9TH CIRCUIT COURT OF
                            APPEALS re 63 Notice of Appeal. (BAS) (Entered: 01/19/2011)
         01/19/2011      70 ORDER (TEXT-ONLY) - IT IS ORDERED that because this case is closed, Plaintiff's
                            motion to allow electronic filing by a party appearing without an attorney (Doc. 64) is
                            DENIED. Entered by Judge James A Teilborg on 1/19/2011. (Copy mailed to pro se
                            plaintiff M. Brosnahan on 1/19/2011). This is a TEXT ENTRY ONLY. There is no PDF
                            document associated with this entry. (TLB) (Entered: 01/19/2011)
         01/26/2011      71 TRANSCRIPT REQUEST - Designation only - by Michael J Brosnahan for
                            proceedings held on 05/24/2010 and 10/21/2010 before Judge James A Teilborg (BAS)
                            (Entered: 01/28/2011)
         01/28/2011      72 AMENDED CERTIFICATE OF RECORD TRANSMITTED TO 9TH CIRCUIT
                            COURT OF APPEALS re 63 Notice of Appeal. (BAS) (Entered: 01/28/2011)
         03/02/2011      73 MANDATE of USCA re 10-17954 dismissing the appeal as to 63 Notice of Appeal
                            filed by Michael J Brosnahan. (Attachments: # 1 Order, # 2 NDA). (LSP) (Entered:
                            03/02/2011)



                                                   PACER Service Center
                                                      Transaction Receipt
                                                        02/08/2017 11:25:26
                                PACER
                                               Bb0049phx:2510231:0 Client Code:   070329.0430
                                Login:
                                                                    Search        3:09-cv-
                                Description:   Docket Report
                                                                    Criteria:     08224-JAT
                                Billable
                                               6                    Cost:         0.60
                                Pages:




8 of 8                                                                                                               2/8/2017 11:25 AM
